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  United States Court of Appeals
                              for the

                    Third Circuit
                   Case Nos. 22-2289 and 22-2377

         WINN-DIXIE STORES, INC.; BI-LO HOLDINGS, LLC,
                                                             Appellants,
                                 – v. –
 EASTERN MUSHROOM MARKETING COOPERATIVE, INC.; ROBERT A.
  FERANTO, JR., t/A Bella Mushroom Farms; BROWNSTONE MUSHROOM
       FARMS, INC.; TO-JO FRESH MUSHROOMS, INC.; CARDILE
   MUSHROOMS, INC.; CARDILE BROS. MUSHROOMS PACKAGING;
    COUNTRY FRESH MUSHROOM CO.; FOREST MUSHROOM, INC.;
FRANKLIN FARMS, INC.; GINO GASPARI & SONS, INC.; GASPARI BROS.
INC.; GIORGI MUSHROOM COMPANY; GIORGIO FOODS, INC.; KAOLIN
MUSHROOM FARMS, INC.; SOUTH MILL MUSHROOM SALES, INC.; LRP
  MUSHROOMS INC.; LRP-M MUSHROOMS LLC; LEONE PIZZINI AND
    SON, INC.; MODERN MUSHROOMS FARMS, INC.; SHER-ROCKEE
  MUSHROOM FARM; C & C CARRIAGE MUSHROOM CO.; OAKSHIRE
     MUSHROOM FARM, INC.; PHILLIPS MUSHROOM FARMS, INC.;
  HARVEST FRESH FARMS, INC.; LOUIS M. MARSON, JR., INC.; MARIO
     CUTONE MUSHROOM CO., INC.; M.D. BASCIANI & SONS, INC.;
    MONTEREY MUSHROOMS, INC.; MASHA & TOTO, INC., t/a M&T
  Mushrooms; W & P MUSHROOM, INC.; MUSHROOM ALLIANCE, INC.;
      CREEKSIDE MUSHROOMS LTD; J-M FARMS, INC.; UNITED
  MUSHROOM FARMS COOPERATIVE, INC.; JOHN PIA; MICHAEL PIA.
                  _____________________________
     ON APPEAL FROM AN ORDER OF THE UNITED STATES DISTRICT
        COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  BRIEF FOR PLAINTIFFS-APPELLANTS AND APPENDIX
            VOLUME 1 OF 7 (pages A1-A19)

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                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   22-2289
                                             No. _________

                 Winn-Dixie Stores, Inc., and Bi-Lo Holding LLC


                                                           v.

                 Eastern Mushroom Marketing Cooperative, Inc., et al.


                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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                                                         Winn-Dixie Stores, Inc. and Bi-Lo Holding LLC
Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
makes the following disclosure:                                         (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: Southeastern Grocers, Inc.


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:

None




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:

None




               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.

Not Applicable
                         ~
        r            ~




                                                                   July 24, 2022
                                                         Dated:
(Signature of Counsel or Party)


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                        JURISDICTIONAL STATEMENT

      The District Court had jurisdiction pursuant to 28 U.S.C § 1331. The jury

issued it Verdict on March 22, 2022. Dkt. 493 (A2498). On March 23, 2022, the

District Court entered a Civil Judgment finding for Plaintiff on three Questions on

the Verdict Form and for Defendants on one Question on the Verdict Form. Dkt. 494

(A7). On April 20, 2022, Plaintiff timely filed a Motion for a New Trial and

Judgment Notwithstanding the Verdict. Dkt. 500. (A2787) On June 13, 2022, the

District Court denied Plaintiff’s Motion for a New Trial and Judgment

Notwithstanding the Verdict and entered an Amended Civil Judgment. Dkt. 503

(A8-A11). The Amended Civil Judgment and the Denial of Plaintiff’s Motion for a

New Trial and Judgment Notwithstanding the Verdict are final and appealable

Orders that dispose of all of the parties’ claims against each other. On July 13, 2022,

Plaintiff timely filed a Notice of Appeal from the District Court’s Amended Civil

Judgment on June 13, 2022. (A1-A3) This Court has jurisdiction over this appeal

under 28 U.S.C. § 1291.




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                        STATEMENT OF ISSUES

1. Whether the jury’s verdict finding that there was a single overarching

   conspiracy to raise the prices of fresh agaricus mushrooms by circulating

   minimum or target price lists along with the rules and regulations requiring

   EMMC members to charge those prices was inconsistent with its finding that

   the EMMC participated in that conspiracy but not a single EMMC member

   participated in the same conspiracy. Issue raised below by the Jury’s Verdict

   (A2498), the Plaintiff’s Motion for a New Trial (A2787), and the District

   Court’s denied of that Motion and entry of the Amended Judgment. (A8-11).

2. Whether the District Court erred in not granting a new trial based on the jury’s

   inconsistent verdict set forth in Question 1. Issue raised below by the Jury’s

   Verdict (A2498), the Plaintiff’s Motion for a New Trial (A2787), and the

   District Court’s denied of that Motion and entry of the Amended Judgment.

   (A8-11).

3. Whether the jury’s verdict that the EMMC participated in the conspiracy to

   raise mushroom prices but not a single EMMC member participated in that

   conspiracy was the result of jury confusion warranting a new trial. Issue raised

   below by the Jury’s Verdict (A2498), the Plaintiff’s Motion for a New Trial

   (A2787), and the District Court’s denied of that Motion and entry of the

   Amended Judgment. (A8-11).


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4. Whether the District Court erred in not granting a new trial based on the jury’s

   inconsistent verdict set forth in Question 3. Issue raised below by the Jury’s

   Verdict (A2498), the Plaintiff’s Motion for a New Trial (A2787), and the

   District Court’s denied of that Motion and entry of the Amended Judgment.

   (A8-11).

5. Whether the jury’s verdict that the EMMC participated in the conspiracy to

   raise mushroom prices but not a single EMMC member participated in that

   conspiracy was the result of jury failing to apply the law as instructed

   warranting a new trial. Issue raised below by the Jury’s Verdict (A2498), the

   Plaintiff’s Motion for a New Trial (A2787), and the District Court’s denied of

   that Motion and entry of the Amended Judgment. (A8-11).

6. Whether the District Court erred in not granting a new trial based on the jury’s

   inconsistent verdict set forth in Question 5. Issue raised below by the Jury’s

   Verdict (A2498), the Plaintiff’s Motion for a New Trial (A2787), and the

   District Court’s denied of that Motion and entry of the Amended Judgment.

   (A8-11).

7. Whether the overwhelming weight of the evidence established that certain

   EMMC members described below in the Statement of the Case participated

   in the conspiracy to raise mushroom prices that the jury found. Issue raised

   below by the Jury’s Verdict (A2498), the Plaintiff’s Motion for a New Trial


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   (A2787), and the District Court’s denied of that Motion and entry of the

   Amended Judgment. (A8-11).

8. Whether the jury’s verdict on Question No. 4 on the Verdict Form that the

   Plaintiff had not proven that conspiracy to raise mushroom prices caused

   Competitive Harm was against the manifest weight of the evidence. Issue

   raised below by the Jury’s Verdict (A2498), the Plaintiff’s Motion for a New

   Trial (A2787), and the District Court’s denied of that Motion and entry of the

   Amended Judgment. (A8-11).

9. Whether the District Court erred in not granting a new trial based on the jury’s

   inconsistent verdict set forth in Question 8 above. Issue raised below by the

   Jury’s Verdict (A2498), the Plaintiff’s Motion for a New Trial (A2787), and

   the District Court’s denied of that Motion and entry of the Amended

   Judgment. (A8-11).

10. Whether, when it rendered its verdict on Question No. 4 on the Verdict Form

   that the Plaintiff had not proven that the conspiracy to raise mushroom prices

   caused Competitive Harm, the jury failed to apply the law as instructed. Issue

   raised below by the Jury’s Verdict (A2498), the Plaintiff’s Motion for a New

   Trial (A2787), and the District Court’s denied of that Motion and entry of the

   Amended Judgment. (A8-11).




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11. Whether the District Court erred in not granting a new trial based on the jury’s

   failure to follow the law as instructed set forth in Question 8 above. Issue

   raised below by the Jury’s Verdict (A2498), the Plaintiff’s Motion for a New

   Trial (A2787), and the District Court’s denied of that Motion and entry of the

   Amended Judgment. (A8-11).

12. Whether the overwhelming weight of the evidence, much of which was

   undisputed, established that the EMMC and its members possessed market

   power and thus established Competitive Harm. Issue raised below by the

   Jury’s Verdict (A2498), the Plaintiff’s Motion for a New Trial (A2787), and

   the District Court’s denied of that Motion and entry of the Amended

   Judgment. (A8-11).

13. Whether the District Court erred in failing to apply the Quick Look Rule of

   Reason Analysis to the EMMC minimum prices and pricing policies. Issue

   raised in Dkt. and resolved in the District Court’s Order dated February 10,

   2022 (A12).

14. Whether the EMMC Defendants and its counsel repeatedly violated the

   District Court’s in limine ruling precluding them from arguing or introducing

   evidence that the purpose of the EMMC, its minimum prices and pricing

   policies was to increase producer prices, increase producer profits, decrease




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       producer losses or help firms stay in operation. Raised during trial with

       District Court rulings at A301-302, A1013-1014, and A2248-50.

   15. Whether the District Court erred in not enforcing its in limine ruling described

       in Question 14 above. Raised during trial with District Court rulings at A301-

       302, A1013-1014, and A2248-50.

                        STATEMENT OF RELATED CASES

       There are four potentially related appeals all completed and all arising out of

a related class action, In re Mushroom Direct Purchaser Antitrust Litigation, 06-620

in the United States District Court for the Eastern District of Pennsylvania. They

are:

   1. Case Nos. 09-2257 and 09-2258, both appealing the District Court’s

       determination that the Defendants were not entitled to immunity under the

       Capper-Volstead Act. This Court in a precedential opinion held that the

       prejudgment order denying such immunity was not an immediately appealable

       order under the collateral order doctrine. Case No. 09-2258, Doc. No.

       0033110633102, 8/23/2011.

   2. Case Nos. 14-8134 and 14-8135, an interlocutory appeal under 28 U.S.C.

       §1292(b), which this Court denied. Case No. 14-8134, Doc. No.

       003111807385, 12/02/2014.




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    3. Case Nos. 16-8079 and 16-8080, appealing the grant of class certification by

       the District Court under Rule 23(f) of the Federal Rules of Civil Procedure.

       This Court denied the Rule 23(f) petition.

    4. Case. No. 19-2114, an emergency petition for a writ of mandamus, which was

       withdrawn by the Petitioner.

                            STATEMENT OF THE CASE

       I.       THE OVERWHELMING EVIDENCE SHOWED THAT THE
                EMMC MEMBERS PARTICIPATED IN THE CONSPIRACY
                AND THAT IT WAS SUCCESSFUL.

       At trial, there was overwhelming evidence that Giorgio, Modern, Kaolin,

Brownstone, Oakshire, Country Fresh, Gaspari and Monterey participated in the

conspiracy. The written agreements and the testimony establish that (1) the EMMC

and its members discussed and agreed to the minimum and target prices, (2) the

EMMC members intended to abide by the EMMC minimum prices, (3) they did

their best to do so, and (4) they did so most of the time. All of this evidence makes

the finding that the individual EMMC members listed above did not participate

against the clear weight of the evidence.1 Specifically, the representatives of the


1
 The EMMC Membership Agreements for all of the Defendants, the EMMC By-
Laws, and the Articles of Incorporation are: PTX-458 (Kaolin)(A2728), PTX-318
(Country Fresh)(A2579), PTX-301 (Monterey)(A2566), PTX-65 (Giorgi) (A2771),
PTX-48 (Cardile)(A2515), PTX-96 (Modern)(A2538), PTX-433 (Phillips)(A2715),
PTX-172 (Brownstone)(A2551), PTX-671 (Gaspari)(A2754), PTX-526
(Oakshire)(A2741), PTX-430 (EMMC ByLaws)(A2685).

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above EMMC members testified at trial live or by deposition that they discussed the

EMMC minimum prices, agreed to them with fellow members during EMMC

meetings, and agreed to follow the EMMC minimum prices.2 Finally, several of

those representatives testified that they did their best to charge the minimum prices,3

they charged the minimum prices most of the time,4 they raised their prices in order

to comply with the EMMC minimum prices,5 the EMMC minimum prices increases


2
  Pia, Trial Day 2, 193:25-194:1 (A290-291), 196:5-12 (A293)(EMMC members
agreed to minimum prices); Carroll, Trial Day 4, 9:2-6, 11:2-5 (When Giorgi signed
the EMMC Membership Agreement, it agreed with other members to the EMMC
minimum prices)(A554, A556); 13:13-16 (Giorgi was obligated to follow the
EMMC minimum prices)(A558): Ciarrocchi, Day 4, 131:18-21 (Modern agreed to
follow the EMMC Current Policies)(A676); Cardile, Trial Day 4, 108:25-109:2 (By
joining the EMMC, Cardile agreed to abide by EMMC minimum prices)(A653-
654); D’Amico, Trial Day 6, 82:12-20 (When Brownstone signed the EMMC
Membership Agreement, it agreed to follow the EMMC rules and EMMC minimum
prices)(A993); Brosius, 114:8-16, 114:25-116:2 (Brosius participated in discussions
with fellow EMMC member to set the EMMC minimum prices)(see Final Clip
Report of Brosius Deposition Designations (A2849); Schroeder, Trial Day 7, 62:22-
63:4 (Oakshire Mushroom Farm agreed to sell all of the mushrooms under its control
pursuant to EMMC rules, which included the EMMC minimum prices)(A1214-15),
65:5-15 (EMMC members agreed to minimum prices)(A1217), 71:18-72:8 (at the
EMMC meetings, there were agreements for minimum prices)(A1223-24), 70:23-
71:7 (the EMMC minimum price lists reflected agreements on minimum
prices)(A1222).
3
  Phillips, Trial Day 5, 7:8-23 (A729); Kazemi, Trial Day 3, 158:11-15(A510);
Cardile, Trial Day 4, p. 109:3-6(A654); Gaspari, Trial Day 6, 193 (A1104): 14-19;
D’Amico, Trial Day 6, 95:15-16, 21-23 (A1106); Brosius, 121:22-122:2 (Country
Fresh sought to comply with the EMMC minimum price lists), 114:4-7 (Country
Fresh followed the EMMC minimum prices the best they could), and 160:16-19
(accusations that Country Fresh was not following the EMMC minimum prices were
not accurate). (A2849)
4
  Cardile, Day 4, 109:10-12 (A654).
5
  Ciarrocchi, Trial Day 4, 133:13-25 (A678).

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were successful or “stuck,”6 and mushroom prices rose as a result of the EMMC

minimum prices.7

      Finally, numerous documents admitted into evidence showed that the EMMC

members charged the EMMC minimum prices, the EMMC minimum price increases

were successful, and the vast majority of the EMMC members were in compliance

with the EMMC minimum prices and policies. For example, Mr. Pia, the CEO of

Kaolin Farms, wrote:

      On the subject of market pricing: I think you have to go back to our fathers
      time, or before, to find a situation which allowed us to realize the levels of
      fresh market pricing that we now see …. Of all the things the EMMC has
      done, this has to stand out as a the most significant accomplishment. Yet, it
      doesn’t happen by magic. It happens only because each of us as members,
      maintains our honor and commitment to those things we have agreed to do as
      a team.

PTX-40 (A2511); Pia, Trial Day 2, p. 170 (EMMC feels that it can mandate a price

increase)(A322), PTX-23 (A2507). In addition, Charlie Matthews, the EMMC

Executive Director, wrote:

      through cooperative pricing, the EMMC raised the average industry per pound
      price from a falling $1.06 to a stable $1.15. In general, this market
      stabilization is still a reality. And, if fully realized, our recent price will pump
      an additional $50 million into the industry.




6
 Kazemi, Trial Day 3, 90:11-16 (A442).
7
 Phillips, Trial Day 5, 25:11-15 (A729); Carroll, Trial Day 12, PX-390 (A2684) and
47:6-14 (referring to the “comfortable umbrella” created by the EMMC and its
minimum prices)(A1903); 42:11-12 (prices in PA did go up)(A1898).

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PTX-89 (A2532).8 Mr. Matthews also wrote:

      The vast majority of the mushrooms sold by EMMC members are in
      compliance with our agreed upon pricing and policies.

PTX-273 (A2564).9        See also, PTX-342 (A2593) at 246 (“Price increase

accomplished”).

      Mr. Schroeder, the CEO and Owner of Oakshire Mushroom Farm and

Oakshire Mushroom Sales, testified that one of the benefits of the EMMC was: “if

we work together, we could raise the price”; and “let the facts speak for themselves,”

referring to the EMMC minimum pricing. Trial Day 7, 109:3-6 and 111:5-7 (A1261,

1263). Finally, Mr. Pia wrote:

      I can tell you with 100% certainty that there is no undermining of the EMMC
      principles occurring. … Trust me when I tell you that the honor that started
      this effort is very much alive and well within this group.

PTX-91 (A2534)(emphasis original); PTX-51 (“John Pia stated that the EMMC has

been successful on the sales side”)(A2528).

      Against this overwhelming evidence, Defendants testified generally that they

did not follow the minimum prices and policies and that no one did. However,

Defendants offered only general denials and no specific examples. They also relied

generally on the perishable nature of mushrooms. But again, they provided no


8
  Again, there was no evidence that any EMMC member criticized Mr. Matthews’
above statement at the time or contemporaneously, nor asked him to correct it, or
that he be disciplined for making the statement. Carroll, Trial Day 12, 42:13-43:6.
9
  See footnote 7.

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specific examples of not following the minimum prices. And, importantly, merely

pricing below the minimum prices is not sufficient to show that the minimum prices

did not raise the price of fresh agaricus mushrooms. The testimony of Professor

Keith Leffler, Plaintiff’s economic expert, that not all of the EMMC members had

to price at the minimum prices in order for the conspiracy to be successful (Trial

Day 10, 50:8-13)(A1564) was not refuted or contradicted in any way by Defendants,

including their economic expert.

       The above evidence is important to participation, as well as competitive harm,

because statements by Defendants that the minimum prices were successful

demonstrates that they participated in agreeing to the minimum prices (already

established by the overwhelming evidence) and carrying out the conspiracy by

charging either the minimum prices or higher prices as a result of the minimum

prices.

       At trial, the overwhelming evidence also demonstrated that the AMC

members – Cardile, Giorgi, Brownstone, Kaolin, Modern and Country Fresh –

agreed to and participated in the target pricing. Indeed, the jury’s finding of

conspiracy includes the AMC target pricing. And Mr. Pia’s testimony that the AMC

members would use their best efforts to charge target pricing has not been refuted.

Trial Day 3, pp. 28, 59. There was no evidence that the AMC members did not

charge the target pricing or raise their prices as a result of the target pricing. In fact,


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the evidence was to the contrary. Specifically, Jack Crooks, the AMC Executive

Director, sent an email invoking the example of the Potato Cooperative which

showed how the target pricing, even if the EMMC members did not charge the exact

target pricing, would increase actual prices. PTX-832 (A2767), Trial Day 5, pp. 85-

86 (A807-808). Finally, the testimony of Anthony D’Amico, the representative from

Brownstone, that when they were exchanging competitively sensitive price

information, the AMC members were not acting as competitors, but rather as fellow

AMC members, demonstrates the participation of the AMC members. Trial Day 6,

131:6-10 (A1042). Thus, based on the overwhelming and unrefuted evidence, the

above AMC members participated in the target pricing.

      II.   THE OVERWHELMING AND UNDISPUTED EVIDENCE
            SHOWED THAT THE EMMC AND ITS MEMBERS HAD
            MARKET POWER, THAT THE EMMC MINIMUM PRICING
            AND THE AMC TARGET PRICING HAD AN IMPACT ON THE
            MARKET AS A WHOLE AND THAT PLAINTIFF WAS
            IMPACTED BY HIGHER PRICES CAUSED BY THE EMMC
            MINIMUM PRICES AND POLICIES AND AMC TARGET
            PRICES.

                A. Impact on the Market As A Whole

      First, Prof. Leffler testified that the USDA data showed an impact on the

market as a whole from the EMMC minimum prices: “We see the impact in the

marketplace as a whole of the EMMC minimums by that big increase,” and “We see

the impact in the marketplace as a whole.” Trial Day 10, p. 48 (A1562). In addition,




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Prof. Leffler testified: “The whole marketplace is being affected by the suppression

or mitigation of competition.” Trial Day 10, p. 52 (A1566).

      In addition, Defendants’ expert, Dr. David, testified that he was not offering

an opinion that the EMMC minimum prices did not increase the price of fresh

agaricus mushrooms in the market (Trial Day 12, p. 148)(A2004), nor whether the

EMMC and its members agreed to fix the price of fresh agaricus mushrooms.

Moreover, Dr. David testified that the fact that inflation adjusted mushroom prices

went down would not tell him whether there were supracompetitive prices caused

by the EMMC minimum prices. Trial Day 12, p. 150:12-18(A2006).

      Furthermore, the statements made by the EMMC and its members, discussed

above, indicated that prices did increase due to the EMMC minimum prices and none

of them mentioned that the higher prices from the EMMC minimum prices should

be adjusted for inflation – not Mr. Pia, Mr. Matthews or Mr. Carroll. In addition,

Prof. Leffler testified that no producer is guaranteed the ability to achieve prices that

match or keep up with inflation. Trial Day 10, 77:12-15, 78:3-19 (A1591, 1592).

This testimony was not refuted by any other witness, including Defendants’

economic expert. Prof. Leffler also testified that the EMMC minimum prices

actually exceeded the rate of inflation.10

10
   He testified that the prices paid by Winn-Dixie exceeded inflation (Trial Day 13,
p. 32)(A2109), and that the prices paid by Winn-Dixie were at or above the EMMC
minimum prices. Trial Day 10, pp. 42-47 (A1556-1561). This testimony was not
refuted.

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      Furthermore, Dr. David testified that there was some compliance that

“worked,” every Defendant testified that they tried to adhere to the EMMC

minimum prices, and some said that they followed them most of the time. Trial Day

12, p. 151 (A2007); see also discussion, supra, pp. 6-8. Thus, Dr. David admitted

that the conspiracy did have an impact. Trial Day 12, p. 157 (“to an economist, if

you're impacted by more than zero, you're impacted”)(A2013). Finally, Mr.

D’Amico’s testimony discussed above about the AMC members not acting as

competitors is also evidence of competitive harm.

      Based on Dr. David’s testimony, there is no evidence contradicting Prof.

Leffler’s testimony on the impact on the market for fresh agaricus mushrooms of the

EMMC minimum prices. Moreover, that testimony is corroborated by the testimony

and statements in documents discussed above. In light of the clear evidence at trial,

the jury did not follow the Instruction on Proof of Competitive Harm.

                B. Market Power

      Second, Prof. Leffler testified that the EMMC and its members had market

power (Trial Day 10, p. 32)(A1546), including a market share of over 90% at the

beginning of the EMMC and its minimum prices and 55-60% in 2005 and 2006. In

addition, Jack Crooks testified to the same market share in 2005-2006. Trial Day 5,

p. 63 (55-60%), and p. 26 (EMMC members had more than 50%). Dr. David

confirmed that the market share at the beginning of the EMMC and its minimum


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pricing was 91%. Trial Day 12, pp. 99, 173 (A1955, A2029). He also confirmed

that the market share was 87% in 2002, 76% in 2003, 72% in 2004 and 58% in 2005.

Trial Day 12, p. 99 (A1955); David Demonstrative Slide No. 7 (A2845). Finally, to

the extent that Dr. David testified that the market share fell below 50% in 2005 and

beyond, his testimony was contradicted by Mr. Crooks’ testimony.

      Based on the evidence above, there is undisputed evidence of the market

power of the EMMC and its members from 2001 through at least 2006. See

discussion below. The jury was instructed that Plaintiff could prove anticompetitive

effect by proving market power. Given the undisputed evidence of market power,

the jury ignored such evidence and did not follow the Instruction on Proof of

Competitive Harm.

      Moreover, the undisputed evidence of market share of the EMMC and its

members established market power. See, e.g., Reazin v. Blue Cross & Blue Shield,

899 F.2d 951, 967 (10th Cir. 1990) (market share between 39 and 62 percent

sufficient); Wilk v. Am. Med. Ass'n, 895 F.2d 352, 360 (7th Cir. 1990) (market share

greater than 50 percent sufficient); Graphics Prods. Distribs. v. Itek Corp., 717 F.2d

1560, 1570-71 (11th Cir. 1983) (70 percent market share sufficient); Barrett v.

Fields, 924 F. Supp. 1063, 1075 (D. Kan. 1996) (50 percent market share permits




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inference of market power). There is simply no evidence from which a rational jury

could find that the EMMC lacked market power from at least 2001 through 2006.11

        Finally, the jury’s findings that a conspiracy existed is inconsistent with its

finding that there was no anticompetitive effect. By asking for the chart from Prof.

Leffler showing the Winn-Dixie prices,12 the jury erred in applying the law as

instructed because an anticompetitive effect is on the market as a whole, not just on

Winn-Dixie. Defense counsel sowed this confusion with the jury when, in this

closing argument, he argued that for both a determination of anticompetitive effect

and unreasonableness, the jury should look at the effect on Winn-Dixie. Trial Day

14, pp. 148-49 (A2364-65); 152-53 (A2368-69). While Plaintiff’s counsel attempted

to correct this misstatement of the law, the damage, apparently, had already been

done.

        Moreover, by asking for the chart, the jury was confused about whether, in

order to prove anticompetitive effect, the impact had to be large or small. However,

any impact is sufficient to provide anticompetitive impact, regardless of the size of

the impact. Dr. David admitted this at trial: “to an economist, if you're impacted by



11
   Defendants appeared to argue at trial that cheating on the EMMC minimum prices
could affect market power. David, Trial Day 12, p. 101 (A1957). However, cheating
on a price-fixing agreement does not relate to market power. Rather, it relates
potentially to fact of injury because market power refers to the ability of the
conspirators to raise prices, not whether they actually did so.
12
   Leffler Rebuttal Slide No. 2 (A2847).

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more than zero, you're impacted.” Trial Day 12, p. 157 (A2013). Therefore, this

Court should grant a new trial because the jury’s verdict on this question is

inconsistent and against the clear weight of the evidence.

      III.   RELEVANT PROCEDURAL HISTORY

      This procedural history relevant to the issues on appeal is as follows:

      This case was tried to a jury from February 28, 2022 through March 22, 2022,

when the jury returned its Verdict (Dkt. 493)(A2948), from which Plaintiff appeals.

      As stated in the Jurisdictional Statement, on March 23, 2022, the District

Court entered a Civil Judgment finding for Plaintiff on three Questions on the

Verdict Form and for Defendants on one Question on the Verdict Form. Dkt. 494

(A7). On April 20, 2022, Plaintiff timely filed a Motion for a New Trial and

Judgment Notwithstanding the Verdict. Dkt. 500 (A2787).

      On June 13, 2022, the District Court erroneously denied Plaintiff’s Motion for

a New Trial and Judgment Notwithstanding the Verdict and entered an Amended

Civil Judgment (Dkt. 503)(A8-11), from which Plaintiff appeals.

      In addition, the District Court issued a ruling on pending motions in limine on

February 10, 2022 (Dkt. 417, Paras. 6-7)(A12), in which it granted Plaintiff’s Motion

in Limine to Preclude Defendants’ Purported Procompetitive Benefits, which

Plaintiff contends on appeal the EMMC Defendants and their counsel violated

repeatedly and which the District did not enforce.


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      In that same Order (Dkt. 417, Par. 8), the District Court erroneously denied

Plaintiff’s Motion in Limine for the Application of the Quick Look Rule of Reason

Analysis to the EMMC Minimum Prices and Pricing Policy (Dkt. 383).


                          SUMMARY OF ARGUMENT

      This Court should order a new trial based on several issues during and before

the trial below. First, this Court should order a new trial because the jury’s verdict

finding that there was a conspiracy to raise mushroom prices by circulating EMMC

minimum and target price lists and requiring EMMC members to charge those

prices is inconsistent with its finding that the EMMC participated in the conspiracy

but not a single EMMC member participated in the conspiracy. In addition, with

respect to the finding that not a single EMMC members participated in the

conspiracy, the jury failed to follow the law as instructed by the District Court and

the finding was against the manifest weight of the evidence.

      Second, this Court should order a new trial because, with respect to the jury’s

finding that the conspiracy caused no Competitive Harm, the jury failed to follow

the law as instructed by the District Court and that finding was against the manifest

weight of the evidence.

      Third, this Court should order a new trial because the District Court erred as

a matter of law in deciding not to apply the Quick Look Rule of Reason Analysis

to the EMMC minimum prices and pricing policies and the AMC target pricing.

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      Fourth, this Court should order a new trial because the EMMC Defendants

and their counsel made repeated references during the trial to the purpose of the

EMMC and its minimum pricing as saving farms and decreasing losses. This was

in direct contravention to the District Court’s In Limine ruling excluding “increased

producer prices, increased producer profits, decreased producer losses, or helping

firms stay in operation are valid pro-competitive benefits under the rule of reason.”



                            STANDARD OF REVIEW

      The standard of review for the District Court’s decision not to apply the Quick

Look Rule of Reason Analysis to the EMMC minimum prices and pricing policies

and the AMC target prices is plenary because the issue solely involved a question of

law. Greenleaf v. Garlock, Inc., 174 F.3d 352, 357 (3d Cir. 1999).

      The standard of review for the arguments that the District Court erred in not

granting a new trial because the jury verdict was against the manifest weight of the

evidence under Rule 59(a) of the Federal Rules of Civil Procedure is deferential –

whether the District Court’s failure to do so was an abuse of discretion. Id. at 365.

      The standard of review for the arguments that the jury’s verdict is against the

manifest weight of the evidence is when the record shows that the jury’s verdict

resulted in a miscarriage of justice or where the jury’s verdict, on the record, cries

out to be overturned or shocks the conscience of this Court. Id. at 366.


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     The standard of review for the argument that the EMMC Defendants and their

counsel repeatedly violated the District Court’s in limine ruling on the proper scope

of procompetitive benefits is whether the improper assertions have made it

“reasonably probable” that the verdict was influenced by prejudicial statements.

Greate Bay Hotel & Casino v. Tose, 34 F.3d 1227, 1236 (3d Cir. 1994)(citing

Fineman v. Armstrong World Indus., 980 F.2d 171, 207 (3d Cir. 1992)).


                                  ARGUMENT

I.   THE DISTRICT COURT SHOULD HAVE GRANTED A NEW TRIAL
     BASED ON AN INCONSISTENT VERDICT AND THAT THE JURY’S
     VERDICT ON PARTICIPATION IN THE CONSPIRACY AND
     COMPETITIVE HARM WAS AGAINST THE MANIFEST WEIGHT
     OF THE EVIDENCE.

      The trial court erred when it denied Plaintiff’s Rule 59(a) motion for a new

trial. Winn-Dixie Stores, Inc. v. E. Mushroom Mktg. Coop., 2022 U.S. Dist. LEXIS

65790 (E.D. Pa. 2022). Rule 59(a) of the Federal Rules of Civil Procedure provides,

relevant part:

          (1) Grounds for a New Trial. The Court may, on motion, grant a new trial
              on all or some of the issues-and to any party-as follows:

             (A) after a jury trial, for any reason for which a rehearing has
             heretofore been granted in a suit in equity in federal court;

Fed.R.Civ.P. 59. Pursuant to Rule 59(a), “[a] court may order a new trial upon the

motion of a party or sua sponte where there is insufficient evidence to support the

verdict or where the verdict was against the weight of the evidence.” Greenleaf v.

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 Garlock, Inc., 174 F.3d at 365; citing Fed.R.Civ.P. 59(a)-(d); Wright & Miller,

 Federal Practice and Procedure §2806 (1995). A motion for a new trial may also

 be granted pursuant to Rule 59(a) “when the verdict is contrary to the great weight

 of the evidence; that is where a miscarriage of justice would result if the verdict

 were to stand.” Buddy’s Plant Plus Corp. v. Centimark Corp., 2014 U.S. Dist.

 LEXIS 43040, *5 (W.D. Pa 2014), aff ’d 604 Fed. Appx. 134 (3d Cir. 2015), citing

 Pryer v. C.O. 3 Slavic, 251 F.3d 448, 453 (3d Cir. 2001). A motion for a new trial

 may be granted based upon inconsistent verdicts. Malley-Duff & Assoc., Inc. v.

 Crown Life Ins. Co., 734 F.2d 133, 145 (3d Cir. 1984) (“We conclude that the

 answers to Questions 1, 2(A), and 2(B) may be considered inconsistent and

 accordingly agree with the appellee-cross appellants. We will vacate the…verdict

 in the state law claims and order a new trial.”)13

       Under Rule 59(a), “the court, utilizing its authority under Rule 59(a), should

 critically evaluate the evidence and exercise its discretion in favor of a new trial

 because the probative evidence in their favor as contrasted with that opposed is

 overwhelming.” Greenleaf v. Garlock, Inc., 174 F.3d at 365 (emphasis in original),

 see also Acumen LLC v. Advanced Surgical Serve., 561 F.3d 199, 220 fn. 18 (3d



13
  Although the Court decided Malley-Duff under Rule 49(a), the same reasoning
applies here pursuant to Rule 59(a) because a Rule 59(a) motions may be granted
“for any reason for which a new trial has been granted in an action at law in federal
court…” Fed.R.Civ.P. Rule 59(A).

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Cir. 2009). In considering whether a new trial is appropriate under Rule 59, the

"court need not view the evidence in the light most favorable to the verdict winner,

a distinction from similar motions under Rule 50.” ZF Meritor LLC v. Easton

Corp., 769 F. Supp. 2d 684, 690 (D.Del. 2011), aff ’d, 696 F.3d 254 (3d Cir. 2012),

citing McMillan v. Weeks Marine, Inc., 478 F. Supp. 2d 651, 655 (D. Del. 2007).

Where, as here, “…a trial is long and complicated and deals with a subject matter

not lying within the ordinary knowledge of jurors, a verdict should be scrutinized

more closely by the trial judge than is necessary where the litigation deals with

material which is familiar and simple, the evidence relating to ordinary commercial

practices.” ZF Meritor LLC, 769 F. Supp. 2d at 690; see also Williamson v.

Conrail, 926 F.2d 1344, 1352 (3d Cir. 1991).

      A. Inconsistent Verdict on the Participation of EMMC Members in the
         Conspiracy to Raise Mushroom Prices.

      Where a jury has returned an inconsistent verdict that has no rational

explanation, a new trial should be granted pursuant to Rule 59(a). Here, the jury

found that EMMC participated in a conspiracy but inexplicably found that not a

single EMMC members participated. The first question on the verdict form asks:

   1. Do you find by a preponderance of the evidence, that there was a single
      overarching conspiracy to raise the prices of agaricus mushrooms by:
      (1) circulating minimum or target price lists along with rules and
      regulations requiring EMMC members to charge those prices; and (2)
      acquiring properties that were historically used for mushroom farming
      to reduce or limit the supply of fresh agarics mushrooms, including by



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       placing deed restrictions on the properties to prevent their future use as
       mushroom farms?

The jury responded yes. Verdict Form, p. 1 (Dkt. 493). The second question on the

verdict form asks:

      2. Do you find by a preponderance of the evidence, that any of the
      following Defendants participated in the above-described single
      overarching conspiracy to raise the prices of agarics mushrooms?


DEFENDANT                                               Yes           No
a. Brownstone Mushroom Farms, Inc.                                    X
b. C&C Carriage Mushroom Co.                                          X
c. Country Fresh Mushroom Co.                                         X
d.Gino Gaspari & Sons, Inc.                                           X
e. Giorgi Mushroom Company                                            X
f. Kaolin Mushroom Farms, Inc.                                        X
g. Leone Pizzini and Son, Inc.                                        X
h. Louis M. Marson, Jr., Inc.                                         X
i. Modern Mushroom Farms, Inc.                                        X
j. Monterey Mushrooms, Inc.                                           X



k. Oakshire Mushrooms Farms, Inc.                                     X
l. Phillips Mushroom Farms, Inc.                                      X
m. South Mill Mushroom Sales, Inc.                                    X
n. The Eastern Mushroom Marketing Cooperative, X
Inc. (EMMC)
o. To-Jo Fresh Mushrooms, Inc.                                        X
United Mushroom Farm Cooperative, Inc.                                X



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The jury marked no for each defendant except for the EMMC. Id., p. 2.

       These verdicts are conflicting and irreconcilable. As reflected in the District

Court’s instruction excerpted below, when the jury found in response to Question

1 that there was a conspiracy to raise mushroom prices by “circulating minimum

and target price lists and requiring the EMMC members to charge those prices,”

and that the EMMC participated in that conspiracy (Question 2), the jury must then

find, according to the instruction below, that the EMMC participated in a

conspiracy with its members to raise the price of mushrooms in the market in

which they competed with each other and that there was an agreement between the

EMMC and its members in violation of Section 1 of the Sherman Act. Thus, the

District Court instructed the jury:

            During this trial, you have heard discussion of the Eastern Mushroom
       Marketing Cooperative, or EMMC, which is a cooperative organization. …

              However, an association is capable of committing violations of the
       antitrust law. The actions of a group of competitors taken through an
       association to which they belong present the same issues as the actions of
       group of competitors who have not created a formal organization such as a
       trade association. A trade association or similar industry group cannot
       lawfully act to raise, stabilize, or maintain prices in the market in which its
       members compete with one another, or to reduce members’ collective output
       of products or services. These actions constitute an agreement between the
       association and its members in violation of the Sherman Act, even if the
       association has not conspired with a nonmember. Under these
       circumstances, the trade association or industry group is one of the co-
       conspirators or participants in the unlawful agreement.



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Trial Day 15, 36:6-37:15 (emphasis added)(A2463-64). When the jury found that

the EMMC had participated in the conspiracy but not a single EMMC member did

– including Kaolin, Modern and Monterey, the original founding members – it

ignored (or failed to understand)2 the judge’s instruction that the actions of EMMC

“constitute an agreement between the association and its members in violation of

the Sherman Act.” In light of the above instruction, there is absolutely no rational

explanation for the jury’s finding that the EMMC participated in a conspiracy that

did not involve a single one of its members.

      In Greenleaf, Mr. and Mrs. Greenleaf sued Owens and Garlock, producers

of asbestos, for causing the mesothelioma that killed Mr. Greenleaf. Owens and

Garlock cross-claimed against numerous other producers of asbestos who had also

supplied materials to the places where Mr. Greenleaf contracted his illness. The

jury found both Owen and Garlock liable but inexplicably found that the other

producers of asbestos who did not show up for the trial were not liable. This Court

granted the motion for a new trial under Rule 59 explaining that it is the

appropriate remedy where “[g]iven the state of the record at the close of the

evidence they had every reason to expect that the jury, if it understood and

rationally applied the court’s instructions, would decide that they had carried their

burden of persuasion.” Greenleaf, 174 F.3d at 365. Thereafter, the Court found

that because “…we can find no rational explanation for the jury’s failure to find



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the non-appearing defendants liable as well…we are left with the definite and firm

conviction that a new trial on the cross-claims is necessary to prevent a

miscarriage of justice.” Id. at 367; see also Riley v. K Mart Corp., 547 U.S. 1092,

126 S. Ct. 1777, 164 L. Ed. 2d 557, 1054 (3d Cir. 1988) (“Like irreconcilable

inconsistencies among answers within a set of interrogatory answers…the

fundamental inconsistencies among answers in the two sets of interrogatory

answers here fatally undermine the judgment entered and mandates a new trial.”)

      Similarly here, there is no rational explanation for the jury’s finding that

EMMC participated in a conspiracy but that none of its members also participated

in the conspiracy. To allow such a verdict to stand would indeed constitute a

miscarriage of justice. To allow a group of defendants to form a trade association

and use that association to conspire to violate the antitrust laws and yet allow the

use of the trade association to shield the individual members from the

consequences of their actions is the very definition of a miscarriage of justice. It

shocks the conscience, it cries out to be overturned.

      B. The Jury’s Finding that Not a Single Member of the EMMC
         Participated in the Conspiracy Is Against the Manifest Weight of the
         Evidence.

      Finally, as set forth in Section I of the Statement of the Case, the

overwhelming evidence at trial was that Giorgio, Modern, Kaolin, Brownstone,

Oakshire, Country Fresh, Gaspari and Monterey participated in the conspiracy.

The written agreements and the testimony establish that (1) the EMMC and its

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members discussed and agreed to the minimum and target prices, (2) the EMMC

members intended to abide by the EMMC minimum prices, (3) they did their best

to do so, and (4) they did so most of the time. All of this evidence makes the

finding that the individual EMMC members listed above did not participate against

the clear weight of the evidence. Specifically, the representatives of the above

EMMC members testified at trial live or by deposition that they discussed the

EMMC minimum prices, agreed to them with fellow members during EMMC

meetings, and agreed to follow the EMMC minimum prices. Finally, several of

those representatives testified that they did their best to charge the minimum

prices, they charged the minimum prices most of the time, they raised their prices

in order to comply with the EMMC minimum prices, the EMMC minimum prices

increases were successful or “stuck,” and mushroom prices rose as a result of the

EMMC minimum prices.

      In addition, numerous documents admitted into evidence showed that the

EMMC members charged the EMMC minimum prices, the EMMC minimum

price increases were successful, and the vast majority of the EMMC members were

in compliance with the EMMC minimum prices and policies.               Moreover,

statements by Defendants that the minimum prices were successful demonstrates

not only that the EMMC minimum prices and policies harmed competition by

successfully raising prices, but also that the EMMC members participated in the

conspiracy by agreeing to the minimum prices (already established by the

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overwhelming evidence) and carrying out the conspiracy by charging either the

minimum prices or higher prices as a result of the minimum prices.

      Finally, at trial, the overwhelming evidence also demonstrated that the AMC

members – Cardile, Giorgi, Brownstone, Kaolin, Modern and Country Fresh –

agreed to and participated in the target pricing. Indeed, the jury’s finding of

conspiracy includes the AMC target pricing. Thus, based on the overwhelming and

unrefuted evidence, the above AMC members participated in the target pricing.

       The fact that the overwhelming evidence established the participation of the

above EMMC members in the conspiracy found by the jury to raise mushroom

prices is an independent ground to grant a new trial because the jury’s verdict that

not a single EMMC member participated in the conspiracy is against the manifest

weight of the evidence.



II. THE DISTRICT COURT SHOULD HAVE GRANTED A NEW TRIAL
    BASED ON THE JURY’S FAILURE TO FOLLOW ITS INSTRUCTION
    ON COMPETITIVE HARM AND THE FACT THAT THE JURY’S
    VERDICT ON COMPETITIVE HARM WAS AGAINST THE
    MANIFEST WEIGHT OF THE EVIDENCE.

       When a jury has returned a verdict that is against the manifest weight of the

evidence or fails to apply the law as instructed, a new trial should be ordered

pursuant to Rule 59(a). Here, because the defendants controlled the vast majority

of the relevant product and geographic market – fresh agaricus mushrooms in the



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Eastern United States – during the relevant time period, the clear weight of the

evidence shows an anticompetitive effect on the market. In this Court, an adverse

effect on competition can be proved either by directly proving such an effect or by

proving that defendants possess market power. For example, in U.S. v. Brown

University, 5 F.3d 658, 668-69 (3d Cir. 1993), the Court stated:

      The plaintiff may satisfy this burden by proving the existence of actual
      anticompetitive effects, such as reduction of output…, increase in price, or
      deterioration of goods or services. Such proof is often impossible to make,
      however, due to the difficulty of isolating the market effects of challenged
      conduct…Accordingly, courts typically allow proof of the defendant’s
      “market power” instead. Market power, the ability to raise prices above
      those that would prevail in a competitive market…, is essentially a
      “surrogate for detrimental effects.” (Citations omitted).

See also King Drug Co. of Florence, Inc. v. SmithKline Beecham Corp., 791 F.3d

388, 412 (3d Cir. 2015) (quoting verbatim from Brown University that plaintiff

may prove anticompetitive effects either by proving a reduction in output or

increase in price or by proving market power which is “is essentially a surrogate

for detrimental effects”).

      Where a defendant possesses sufficient market share in a relevant market,

the court will infer market power. “Once markets are defined, we must determine

whether the [defendant’s] market share is sufficient to infer the existence of market

power.” Gordon v. Lewistown Hosp., 423 F.3d 184, 211 (3d Cir. 2005), cert.

denied, 547 U.S. 1092, 126 S. Ct. 1777, 164 L. Ed. 2d 557 (S.Ct. 2006); see also

Debjo Sales, LLC v. Houghton Mifflin Harcourt Publ’g Co., 2015 U.S. Dist.


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LEXIS 56504, *14 (D.N.J. 2015) (“Taking all inferences in favor of the Plaintiff,

the Court finds that the Plaintiff’s allegation that Defendant has a 38% market

share is sufficiently plausible to infer that Defendant has market power here.”);

Wilk v. American Medical Ass’n, 895 F.2d 352, 360 (7th Cir. 1990), cert denied,

496 U.S. 927, 110 S. Ct. 2621, 110 L. Ed. 2d 642 (S.Ct. 1990) (“The District Court

properly relied on the [plaintiff’s] substantial market share in finding market

power.”); Graphic Prods. Distribs. v. Itek Corp., 717 F.2d 1560, 1570 (11th Cir.

1983) (“Market share is frequently used in litigation as a surrogate for market

power for two reasons. First, market power is conceptually difficult to define in

any given case. Second, its measurement requires sophisticated econometric

analysis.”)

      At trial, witnesses for Plaintiff and Defendants testified that the EMMC and

its members had a sufficient market share to infer market power. Prof. Leffler

testified that the EMMC and its members had market power, including a market

share of over 90% at the beginning of the EMMC and its minimum pricing and

55-60% in 2005 and 2006. Jack Crooks, executive director of the EMMC,

testifying for the defendants, testified to the same market share in 2005-2006. Dr.

David, an expert witness for the defendants, confirmed that the market share at the

beginning the EMMC and its minimum pricing was 91%. He also confirmed the

market share was 87% in 2002, 76% in 2003, 72% in 2004 and 58% in 2005.

Finally, to the extent that Dr. David testified that the market share fell below 50%

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in 2005 and beyond, his testimony was contradicted by Mr. Crooks’ testimony.

Based on the evidence presented at trial, it is undisputed that the EMMC and its

members possessed more than sufficient market share during the relevant time

period sufficient to infer market power from 2001 through at least 2006.

      In applying these facts, the jury was instructed by the District Court that

Plaintiff could meet its burden to prove anticompetitive effect by proving market

power:

      To prove that the challenged restraint is unreasonable, Plaintiff must
      demonstrate that it has resulted in substantial harm to competition. As I
      mentioned earlier, harm that occurs merely to the individual business of
      Plaintiff is not sufficient by itself to demonstrate harm to competition
      generally. Rather, harm to competition must be shown in the relevant
      market.
      In this case, because the alleged restraint evaluated under the rule of reason
      includes minimum and target pricing coupled with the Supply Control
      Program, a harmful effect on competition refers to a reduction in
      competition with respect to mushroom prices that results in higher prices
      than there would have been absent these restraints. If the challenged conduct
      has not resulted in prices higher than the competitive level, then there has
      been no competitive harm, and you should find that the challenged conduct
      was not unreasonable.
      The Plaintiff can satisfy its burden either by directly proving the existence of
      an actual anticompetitive effect in a relevant market—in this case, higher
      mushroom prices than there would have been without the restraint—or by
      proving that the Defendants had market power in the relevant market. In
      determining whether the challenged conduct has produced competitive harm,
      you may look at the following factors:
     •     the effect of the restraint on prices, output, product quality, and/or
           service;

     •     the purpose and nature of the restraint;


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     •     the nature and structure of the relevant market;

     •     the number of competitors in the relevant market and the level
           of competition among them, both before and after the restraint
           was imposed;

     •     any facts unique to the fresh agaricus mushroom industry; and

     •     whether a Defendant and its alleged co-conspirators, together,
           possess market power.

      The last factor, market power, has been defined as an ability to profitably
      raise prices, for a sustained period of time, above those that would be
      charged in a competitive market. A firm or firms that possess market power
      generally can charge higher prices for the same goods or services than a firm
      in the same market that does not possess market power. The ability to charge
      higher prices for better products or services, however, is not market power.

      An important factor in determining whether a Defendant possesses market
      power is the Defendant’s market share, that is, its percentage of the products
      or services sold in the relevant market by all competitors. If Defendants do
      not possess a substantial market share, it is less likely that Defendants
      possess market power. If Defendants do not possess market power, it is less
      likely that the challenged restraint has resulted in a substantial harmful effect
      on competition in the market.
Trial Day 15, 33:25-34:21 (A2459-61).
     In light of the above instruction, when it found that there was no

anticompetitive harm, the jury ignored (1) (or failed to understand) the judge’s

instruction that a finding of market power was all that was necessary to find

anticompetitive harm, and (2) the unrefuted evidence of the 90% market share held

by the EMMC and its members, which, once the EMMC was established, dropped




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 to no lower than 55%.14 Therefore, because the jury failed to follow the District

 Court’s instruction that Proof of Competitive Harm could be proven by market

 power alone, this Court should grant a new trial.


      Moreover, the failure of the jury to find anticompetitive harm is against the

 manifest weight of the evidence. Not only was the evidence of the market share of

 the EMMC and its members unrefuted, but also there was overwhelming evidence

 that the EMMC minimum pricing and policies had an anticompetitive effect on the

 market.

      Prof. Leffler testified that the USDA data showed an impact on the market as

a whole from the EMMC minimum prices. By contrast, Defendants’ expert, Dr.

David, testified that he was not offering an opinion that the EMMC minimum prices

and the AMC target prices did not increase the price of fresh agaricus mushrooms in

the market, nor whether the EMMC and its members agreed to fix the price of fresh

agaricus mushrooms. Moreover, Dr. David testified that the fact that inflation

adjusted mushroom prices went down would not tell him whether there were

supracompetitive prices caused by the EMMC minimum prices.


14
  To the extent that the above instruction created jury confusion, this also constitutes
a separate ground for granting a new trial pursuant to Rule 59(a). Brown v. Nutrition
Mgmt. Servs. Co., 2010 U.S. App. LEXIS 5535, * 6 (3d Cir. 2010) (“…inadvertently
there was juror confusion that resulted in manifest injustice…”); Nissho,Iwai v.
Occidental Crude Sales, Inc., 729 F.2d 1530, 1538 (5th Cir. 1984) (“A trial judge
may order a new trial if he suspects that the jury verdict reflects confusion.”)

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      Furthermore, the statements made by the EMMC and its members, discussed

in the Statement of Facts, indicated that prices did increase due to the EMMC

minimum prices and none of them mentioned that the higher prices from the EMMC

minimum prices should be adjusted for inflation – not Mr. Pia, Mr. Matthews or Mr.

Carroll. In addition, Prof. Leffler testified that no producer is guaranteed the ability

to achieve prices that match or keep up with inflation. This testimony was not refuted

by any other witness, including Defendants’ economic expert. Prof. Leffler also

testified that the EMMC minimum prices actually exceeded the rate of inflation.

      Furthermore, Dr. David testified that there was some compliance with the

EMMC minimum prices that “worked,” every Defendant testified that they tried to

adhere to the EMMC minimum prices, and some said that they followed them most

of the time. Thus, Dr. David admitted that the conspiracy did have an impact. Trial

Day 12, p. 157 (“to an economist, if you're impacted by more than zero, you're

impacted”) (A2013). Finally, Mr. D’Amico’s testimony discussed above about the

AMC members not acting as competitors is also evidence of competitive harm.

Finally, based on Dr. David’s testimony, there is no evidence contradicting Prof.

Leffler’s testimony on the impact on the market for fresh agaricus mushrooms of the

EMMC minimum prices. In light of the unrefuted evidence that the EMMC

minimum pricing and policies had an anticompetitive effect on the market, the jury’s

finding that the conspiracy did not have an anticompetitive effect on competition in


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the market is against the manifest weight of the evidence, and thus, this Court should

grant Plaintiff a new trial.


III. DEFENDANTS FAILED TO CARRY THEIR BURDEN ON
     PROCOMPETITIVE BENEFITS.


       Should this Court consider entering a judgment notwithstanding the verdict,

it is important that the overwhelming evidence at trial shows that there were no

cognizable procompetitive benefits to the EMMC minimum pricing and policies

and the AMC target prices. Under a rule of reason analysis, once competitive harm

has been established, the burden shifts to Defendants to show pro-competitive

benefits. “If a plaintiff meets his initial burden of adducing adequate evidence of

market power or actual anti-competitive effects, the burden shifts to the defendant

to show that the challenged conduct promotes a sufficiently pro-competitive

objective…To rebut, the plaintiff must demonstrate the the restraint is not

reasonably necessary to achieve the stated objective. Deutscher Tennis Bund v.

ATP Tour, Inc., 610 F.3d 820, 830 (3d Cir. 2010), cert denied, 562 U.S. 1064, 131

S. Ct. 658, 178 L. Ed. 2d 482 (S.Ct. 2010), citing U.S. v. Brown University, 5 F.3d

at 668-69. Once the plaintiff has met its burden to show anticompetitive effects,

“[u]nder the Rule of Reason, these hallmarks of anticompetitive behavior place

upon petitioner a heavy burden of establishing an affirmative defense which

competitively justifies this apparent deviation from the operations of a free



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market.” National Collegiate Athletic Ass’n v. Board of Regents, 468 U.S. 85, 113

(1984).

      First, Dr. David, Defendants’ expert witness, offered no opinion on pro-

competitive benefits at trial. Second, while the defendants spent a lot of time at

trial on the issue of farm closings, preventing farms from closing, decreasing losses

and improving profitability and prices, the Court, as noted above, instructed the

jury that it may not consider any of those issues as legitimate pro-competitive

benefits. Third, the only arguably procompetitive benefit – marketing – was

shown at trial to be a sham excuse for the EMMC’s price-fixing and supply control

scheme. Finally, even if the evidence did not show that marketing was a sham

excuse, Plaintiff presented evidence that Defendants did not need to engage in the

EMMC minimum prices and policies and the AMC target prices in order to engage

in marketing; in other words, there were less anticompetitive means for

Defendants to engage in marketing.

      Plaintiff presented evidence at trial that marketing was not begun in earnest

until sometime in 2003, while the minimum pricing was begun in 2001. PTX-390

(A2684); Carroll, Trial Day 12, p. 45 (“promotion” by EMMC had not started

yet)(A1898); D’Amico. Trial Day 6, 174:12-14 (EMMC didn’t get around to the

marketing program until 2003)(A1085); PTX-798 at 3 (“we started in 2001 with a

plan to improve our stations in life and took immediate and important step of




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pricing.”)(A2784). Similarly, the supply control program was first discussed in

April 2001 and was started in mid 2001. PTX-51 (A2528).


     One of the purported reasons why the EMMC marketing campaign took at

least two years to begin was the high cost, estimated by Mr. Ciarrocchi, CEO of

Defendant Modern Mushroom, to be between $6-$8 million. Trial Day 4, p. 140

(A685). However, the EMMC and its members raised and spent $4-$6 million on

the Supply Control program. Trial Day 6, p. 125 (A1036); Schroeder, Trial Day 7,

128:16-22 (A1280). Because the EMMC and its members were able to raise and

spend $4-6 million on the Supply Control program, they could have raised and spent

that amount on marketing and done so in 2001. Thus, any contention that the

minimum pricing and target prices were justified as a marketing mechanism is

against the manifest weight of the evidence. Thus, the evidence at trial is such that

no reasonable jury could find that there were legitimate procompetitive benefits

and, if there were, there were less anticompetitive means to achieve those

procompetitive benefits. Therefore, based on the overwhelming evidence at trial,

Defendants failed to meet their burden to establish any procompetitive benefit from

the EMMC minimum pricing and policies and the AMC target prices and Plaintiff

met its burden to show that the minimum pricing and target prices were not

necessary in order to achieve the purported procompetitive benefit of marketing.




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IV. THE JURY’S FAILURE TO FOLLOW                                  CERTAIN         JURY
    INSTRUCTIONS WARRANTS A NEW TRIAL.
     It is well established that the failure of a jury to follow the Court’s

instruction is a proper ground for a new trial pursuant to Rule 59(a). Shushereba

v. R. B. Industries, Inc., 104 F.R.D. 524, 528 (W.D. Pa. 1985); see 6 A.J. Moore,

Moore's Federal Practice, P59.08[4] (2d ed. 1983); Rose v. Brown Mach. Div.,

1995 U.S. Dist. LEXIS 3566, at *9 (E.D.Pa. 1995) (“…I find that since the jury

did not follow the law as instructed, a grant of a new trial is required in this

matter.”); Gardner v. Vogel, 237 F. Supp. 119, 121 (E.D. Pa. 1964); EEOC v.

Delaware Dep’t of Health & Social Services, 667 F. Supp. 1057, 1068 (D. Del.

1987); Elia v. Roberts, 2019 U.S. Dist. LEXIS 169311, at *5 (E.D. Cal. 2019);

Thomas v. Stalter, 20 F.3d 298, 303 (7th Cir. 1994); J.A. Jones Constr. Co. v.

Steel Erectors, Inc., 901 F. 2d 943, 944 (11th Cir. 1990). In EEOC v. DHSS, the

court elaborated on the circumstances in which a jury may fail to follow a court’s

instructions thereby necessitating a new trial to avoid injustice:


      When it appears from the verdict that the jury was confused about the court's
      instructions and that such confusion has prejudiced the party moving for a
      new trial, it is within the court's discretion to grant a new trial in the interest
      of justice. Nissho-Iwai Co. Ltd. v. Occidental Crude Sales, 729 F.2d 1530,
      1538 (5th Cir. 1984); McCormick v. City of Wildwood, 439 F. Supp. 769, 773
      (D. N.J. 1977) (quoting Colonell v. Goodman, 78 F. Supp. 845, 849 (E. D.
      Pa.), aff'd 169 F.2d 275 (3d Cir.), cert. denied, 335 U.S. 870, 93 L. Ed. 414,
      69 S. Ct. 166 (1948)). The same is true when it appears that the jury has
      consciously failed to follow the court's instructions, causing prejudice to the
      moving party. Shushereba v. R.B. Industries, Inc., 104 F.R.D. 524,529 (W.

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      D. Pa. 1985); McCormick, supra, 439 F. Supp. at 773; see also Feinberg v.
      Mathai, 60 F.R.D. 69, 71 (E. D. Pa. 1973); 6A Moore's, para. 59.08[4], at
      59-124 to 59-125.

      In this case, whether due to confusion or to a conscious failure to adhere to
      the law given to it, the jury's conclusion that Bloom and the PHNs all
      worked under similar working conditions misconstrues the applicable law.
      It is also clear that the DHSS was prejudiced by this failure, since a correct
      application of the law would have led the jury to find in the DHSS's favor
      against at least ten of the PHNs. We must, therefore, grant a new trial in
      order to avoid injustice.
667 F. Supp. at 1068. In the instant case, either by confusion or consciously, the

jury here failed to follow this Court’s instructions, specifically the Instructions on

Participation, Trade Organizations and Proof of Competitive Harm in the Relevant

Market and that Plaintiff was prejudiced as a result. This alone warrants the grant

of new trial.

V. THE COURT ERRED IN DENYING PLAINTIFF’S MOTION
   IN LIMINE FOR THE APPLICATION OF THE QUICK
   LOOK RULE OF REASON ANALYSIS TO THE EMMC
   MINIMUM PRICES AND PRICING POLICY.

      The court erred when it denied the plaintiffs’ Motion in Limine for the

Application of the Quick Look Rule of Reason Analysis to the EMMC Minimum

Prices and Pricing Policy. The Courts have embraced a Quick Look analysis in

cases, such as this one, where an intermediate approach between per se and the rule

of reason standard is necessary. “In addition to the traditional rule of reason and

the per se rule, courts sometimes apply what amounts to an abbreviated or "quick




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look" rule of reason analysis. The abbreviated rule of reason is an intermediate

standard.” United States v. Brown Univ., 5 F.3d 658, 668 (3d Cir. 1993).

      It is "an intermediate standard" and "applies in cases where per se
      condemnation is inappropriate but where no elaborate industry analysis is
      required to demonstrate the anticompetitve character of an inherently suspect
      restraint." Brown, 5 F.3d at 669 (internal quotation marks omitted); see FTC
      v. Ind. Fed'n of Dentists, 476 U.S. 447, 459, 106 S. Ct. 2009, 90 L. Ed. 2d
      445 (1986); NCAA, 468 U.S. at 109 (1984); Prof'l Eng'rs, 435 U.S. at 692. In
      such cases, "an observer with even a rudimentary understanding of
      economics could conclude that the arrangements in question would have an
      anticompetitive effect on customers and markets." Cal. Dental Ass'n v. FTC,
      526 U.S. 756, 770, 119 S. Ct. 1604, 143 L. Ed. 2d 935 (1999). In other words,
      "quick-look analysis carries the day when the great likelihood of
      anticompetitive effects can easily be ascertained." Id. Under "quick look"
      analysis, the competitive harm is presumed, and "the defendant must
      promulgate 'some competitive justification' for the restraint." Brown, 5 F.3d
      at 669 (quoting NCAA, 468 U.S. at 110). "If no legitimate justifications are
      set forth, the presumption of adverse competitive impact prevails and 'the
      court condemns the practice without ado.'" Id. (quoting Chicago Prof'l Sports
      Ltd. P'ship v. NBA, 961 F.2d 667, 674 (7th Cir. 1992)). "If the defendant
      offers sound pro-competitive justifications, however, the court must proceed
      to weigh the overall reasonableness of the restraint using a full-scale rule of
      reason analysis." Id.
Deutscher Tennis Bund v. ATP Tour, Inc., 610 F.3d at 830-31. “Some restraints of

trade are ‘highly suspicious’ yet ‘sufficiently idiosyncratic that judicial experience

with them is limited…Per se condemnation is inappropriate, but at the same time,

the ‘inherently suspect’ nature of the restraint obviates the sort of ‘elaborate

industry analysis’ required by the traditional rule-of-reason standard.” In re Ins.

Brokerage Antitrust Litig., 618 F.3d 300, 317 (3d Cir. 2010). “This is…an

important issue because the quick-look analysis not only relieves the plaintiff of



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the burden of showing anticompetitive effects in the relevant market as part of

their prima facie case, it also shifts the burden to defendants ‘to show empirical

evidence of procompetitive effects.’” Realcomp II Ltd. v. FTC, 635 F.3d 815, 825

(6th Cir. 2011).

      It is axiomatic that price fixing is a paradigmatic per se case. “Price is the

central nervous system of the economy…and an agreement that ‘interferes’ with

the setting of price by free market forces’ is illegal on its face…” National Society

of Engineers v. US., 435 U.S. 679, 692 (1978) (citations omitted). It is further

axiomatic that a supply control restriction is a paradigmatic per se violation.

“Restrictions on price and output are the paradigmatic examples of restraints of

trade that the Sherman Act was intended to prohibit.” National Collegiate Athletic

Ass’n v. Board of Regents, 468 U.S. at 107. Thus, where the alleged antitrust

violation is a price fixing mechanism, but is outside the scope of the per se rule,

the courts have used the quick look method. In Brown University, the court held

that because the “…Agreement is a price fixing mechanism impeding the

ordinary functioning of the free market, [defendant] is obliged to provide

justification for the arrangement.”). 5 F.3d at 668. Similarly, this case involves a

price fixing scheme which would be analyzed under the per se rule but for the

vertical elements of the scheme.

      Despite this well-established principle of antitrust jurisprudence, the

District Court held: “The court finds the quick look analysis is not appropriate here

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 because the effects of the minimum pricing policy are not ‘obviously and facially

 anticompetitive.’” Winn-Dixie Stores, Inc. v. E. Mushroom Mktg Coop., 2022 U.S.

 Dist. LEXIS 65790 (E.D. Pa 2022), citing Food Lion LLC v. Dean Foods Co., Civ.

 A. No. 07-188, 2016 U.S. Dist. LEXIS 42180, 2016 WL 1259959 at *4, (emphasis

 added). Such a finding flies in the face of longstanding antitrust precedent. There

 is no question that the price fixing in this case, as in all cases, is an inherently

 suspect restraint. Thus, no elaborate industry analysis is required to demonstrate

 the anticompetitive character of the price fixing and supply control scheme.

 “…[W]hen there is an agreement not to compete in terms of price or output, ‘no

 elaborate industry analysis is required to demonstrate the anticompetitive character

 of such an arrangement.’” National Collegiate Athletic Ass’n v. Board of Regents,

 468 U.S. at 113. See also National Society of Engineers v. U.S., 435 U.S. at 692

 (same). Further, “an observer with even a rudimentary understanding of

 economics could conclude” that the scheme in question here “would have an

 anticompetitive effect on customers and markets.” Deutscher Tennis Bund v. ATP

 Tour, Inc., 610 F.3d at 830-31. Thus, the District Court should have applied the

 Quick Look Analysis in this case, and its error in not doing so warrants a new

 trial.15


15
  Food Lion, the only case cited by the Court, does not involve a price fixing scheme
at all, but rather involves a scheme whereby defendant “accepted ‘second best’
plants, operated those plants at losses and eventually shuttered some of those plants
in an unlawful agreement with its competitor…because, in return, its parent

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VI. REPEATED REFERENCES TO SAVING FARMS AND DECREASING
    LOSSES BY THE EMMC DEFENDANTS AND THEIR COUNSEL, IN
    VIOLATION OF THE DISTRICT COURT’S IN LIMINE ORDER,
    WARRANTS A NEW TRIAL.

       At trial, the EMMC Defendants and their counsel made repeated references

to the purpose of the EMMC and its minimum pricing as saving farms and

decreasing losses. This was in direct contravention to the District Court’s In

Limine ruling excluding “increased producer prices, increased producer profits,

decreased producer losses, or helping firms stay in operation are valid pro-

competitive benefits under the rule of reason.” Because of the pervasive nature of

the references of the EMMC Defendants and their counsel to this excluded

evidence, Plaintiff is entitled to a new trial.


       Prior to trial, the District Court ruled in limine:


  5.   EMMC’s Motion in Limine Regarding the Court’s Order of February 14,
       2020 in the Publix and Giant Eagle Cases, Precluding Evidence of Certain
       Pro-Competitive Attributes of the EMMC’s Minimum Pricing Policy (Dkt.
       380) is DENIED. As the Court noted in that Order, “the Sherman Act does
       not permit defendants to justify anticompetitive behavior by arguing that the
       behavior forestalls certain negative consequences where those
       consequences are the result of competition.” Accordingly, the EMMC will
       not be permitted to argue that increased producer prices, increased
       producer profits, decreased producer losses, or helping firms stay in
       operation are valid pro-competitive benefits under the rule of reason.
       (Emphasis Added).

company…received a commitment from [it’s competitor] to allow it to supply
[product] to each [competitor’s] bottling plant, including pre-merger [competitor]
plants previously supplied by independent [competitors]. Food Lion, 2016 U.S. Dist.
LEXIS 42180 at *10.

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  6.   Winn-Dixie’s Motion in Limine to Preclude Defendants’ Purported
       Procompetitive Benefits (Dkt. 381) is GRANTED for substantially the same
       reasons as set forth in the Court’s decision regarding Dkt. 380.

Winn-Dixie Stores, Inc. v. Eastern Mushroom Marketing Cooperative, et al, Order,

February 22, 2022 (Dkt. 417)(A12). In contravention of this ruling, the EMMC

Defendants and their counsel repeatedly elicited testimony regarding how the

EMMC minimum pricing policy was necessary to keep farmers in business, forcing

counsel for Plaintiff to object in front to the jury. For example, on Day 2 of the trial,

with the very first witness from the Defendants to take the stand, the following

exchange took place:


   A. The purpose of the existence of the EMMC was to allow growers who for
      three and sometimes four generations of farmers to survive at a time where
      we were right about up to here, and my job-
             (The record will reflect he’s pointing to his neck)


             MR. AHERN: Your honor, this is out of bounds with respect to the
             motion of limiting [sic] rule of (indiscernible).
             THE COURT: Listen. Did you read the whole letter you wrote?

             THE WITNESS: Would I read it?
             THE COURT: Did you read it? You said you wrote it.

              THE WITNESS: Oh, I’m very familiar with this letter. I started the
       organization. I had to step down, because the organization was falling apart.
       I can recite that letter from memory almost. It wasn’t a good day for me.
             THE COURT: All right. Move on.


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Trial Transcript, 2/28/2022, Trial Day 2, 205:20-206:1 (A301-302). On Day 6, the

following exchange occurred:


      MR. AHERN: The other thing, Your Honor, is we keep getting these, oh my
      farm would have gone out of business, my farm would have gone out of
      business. That’s out of bounds based on-
      THE COURT: It’s not out of bounds.

      MR. AHERN: their own [pro] competitive
      benefits.

      THE COURT: It’s not out of bounds.
      MS. SHIELDS: That’s the reason why they signed.

      (Cross talk)
      MR. AHERN: But may we have the limine instruction, because there’s been
      a lot of this. So, may we have a limine instruction from the bench?
      MR. AHERN: Saying that the jury may not consider whether or not the
      purpose the EMMC was to decrease losses, improve profitability, save
      farms, basically the four things that Your Honor said in the MIL, because
      they are really getting this stuff in, and they really shouldn’t even be
      volunteering it.


      MR. DESTEFANO: We’re not even at the pro-competitive benefits state of
      the case yet.
      MR. AHERN: It’s the record.

      MR. DESTEFANO: No, it’s not the record.

      MR. AHERN: You want to wait until there’s jury instructions, but the jury’s
      already going to have that in its mind. So I would just ask Your Honor to
      consider this.
      THE COURT: I’ll consider it.

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Trial Day 6 102:13-103:13 (emphasis added) (A1013-14). During the jury

instruction conference, counsel for the EMMC defendants attempted to keep

the MIL language out of the jury instructions altogether.


      MR. BRUNELLI: Your Honor, whether or not you made that, we don’t
      dispute that you made a ruling, you can actually- -you know, pretrial ruling
      on this issue, but we see no reason for you, Your Honor, to specifically quote
      language from that order in this instruction. That order precluded the
      Defendants from arguing- -from offering certain evidence at trial relating to,
      I think it was increased prices and increased losses, whatever the language
      was. So, okay, that was a pretrial ruling. We see no reason for that to make
      its way into the charge to the Jury.
      MR. AHERN: Well, they put on evidence that the whole purpose of this
      thing was to help farms stay in business.
      …

      MR. BRUNELLI: Your Honor, if Counsel thought the evidence that came in
      at trial violated Your Honor’s prior court ruling, I’m sure he would have
      objected at the time or maybe even filed a motion to challenge it. He never
      did.
      …

      MR. AHERN: I did. But - - I did, I came up and talked about surviving
      farms. We had sidebars on that…


      THE COURT: Well, are you now saying that they introduced what I told
      them not to as evidence in the case?

      MR. AHERN: Yes. And I- -when they were talking about farms surviving, I
      was objecting. But more importantly, you said this- -you can’t consider this.
      …

Trial Day 14, 32:21-34:5 (A2248-50).



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      The introduction of this specifically prohibited evidence throughout the trial,

has made it “reasonably probably” that the verdict was influenced by the

prejudicial statements. “In this circuit, the test for determining whether to grant a

new trial in cases involving counsel misconduct is "whether the improper

assertions have made it 'reasonably probable' that the verdict was influenced by

prejudicial statements.” Greate Bay Hotel & Casino v. Tose, 34 F.3d 1227, 1236

(3d Cir. 1994)(citing Fineman v. Armstrong World Indus., 980 F.2d 171, 207 (3d

Cir. 1992).

      Further, it is reasonably probable that the introduction of the improper

statements confused the jury and lead to the inconsistent verdict. “While zealous

advocacy can sometimes lead to minor misconduct that would not warrant a new

trial, in this case the Court determines that the repeated misconduct of Sabert's

counsel on a wide variety of fronts requires a new trial, particularly in light of the

jury's inconsistent verdict.” Waddington North Am., Inc. v. Sabert, 2011 U.S. Dist.

LEXIS 86632, *12 (D.N.J. 2011). Where, as here, the improper statements are

introduced repeatedly, opposing counsel need not object to every instance. Indeed,

to do so risks alienating the jury and giving them the impression that he is

attempting to keep them from learning relevant or harmful information.


      …in cases where the misconduct at issue is substantial or repeated, such as
      this one, a new trial is warranted even if opposing counsel does not object
      to every single violation. See Draper v. Airco, Inc., 580 F.2d 91 (3d Cir.


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      1978) (finding a closing prejudicial despite a curative instruction where
      there were several violations including improper references to defendant's
      wealth, personal opinion of the justness of the cause of action, and referring
      to information not in evidence); Kiewit Sons' Co., 624 F.2d 749, 758-59 (6th
      Cir. 1980) (ordering a new trial despite the fact that the Court repeatedly
      gave curative instructions). In instances where misconduct is constant and
      repeated, counsel cannot object to every transgression — there are simply
      too many transgressions. Indeed, such constant misconduct puts opposing
      counsel in lose-lose situation requiring counsel to either object and be seen
      as combative, or allow the misconduct to continue. See Straub v. Reading
      Co., 220 F.2d 177, 181 (3d Cir. 1955). In this case, as mapped below, Mr.
      Sutton's misconduct was so constant and repeated that if WNA had objected
      to every issue, the stream of objections would have ground the proceeding
      to a halt, and given the jury the impression that counsel for WNA was angry,
      combative, and attempting to keep relevant evidence from it. Thus, counsel
      for WNA can hardly be faulted for failing to object to the thirtieth
      transgression of the day at trial. Indeed, the Court notes that WNA likely
      erred on the side of objecting frequently, so frequently that its proper
      objections likely prejudiced its position with the jury. North Am., Inc. v.
      Sabert, 2011 U.S. Dist. LEXIS 86632 at *12-14.

Waddington North Am., Inc. v. Sabert, 2011 U.S. Dist. LEXIS 86632 at *12.

Similarly, here, Plaintiff’s counsel was in a position of having to choose to

continually object, giving the jury the impression he was attempting to keep

relevant information from them, or allowing the statements to go unchecked,

giving the jury the impression that they could determine that saving farms was a

procompetitive benefit that justified the violation of the antitrust laws. The end

result, of course, is that the jury was confused and issued an inconsistent verdict

on the issue of Competitive Harm, to which the Rule of Reason obviously relates.




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                                  CONCLUSION


      The Court should reverse the judgment entered by the District Court and

grant Plaintiff a new trial.



Dated: October 24, 2022                   Respectfully submitted,



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                  CERTIFICATION OF ADMISSION TO BAR


I, Patrick J. Ahern, certify as follows:

      1.     I am a member in good standing of the bar of the United States Court

of Appeals for the Third Circuit.

      2.     Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury that the

foregoing is true and correct.

Dated: October 24, 2022

                                           /s/ Patrick J. Ahern
                                           Patrick J. Ahern




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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B). This brief contains 12,186 words, excluding the parts of the

brief exempted by Rule 32(a)(7)(B)(iii) of the Federal Rules of Appellate Procedure.

      This brief complies with the typeface requirements of Rule 32(a)(5) of the

Federal Rules of Appellate Procedure and the type style requirements of Rule

32(a)(6) of the Federal Rules of Appellate Procedure because this brief has been

prepared in a proportionally spaced typeface using 2008 version of Microsoft Word

in 14-point Times New Roman font.

      This brief complies with the electronic filing requirements of Local Rule

31.1(c) because the text of this electronic brief is identical to the text of the paper

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Dated: October 24, 2022


                                 By: /s/ Patrick J. Ahern
                                       Patrick J. Ahern




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                 CERTIFICATE OF FILING AND SERVICE

      I certify that on this 24th day of October 2022, the foregoing Brief and

Appendix Volume 1 were filed through CM/ECF system and served on all parties

or their counsel of record through the CM/ECF system.

Dated: October 24, 2022

                                         By: /s/ Patrick J. Ahern
                                                Patrick J. Ahern




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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                      x
  WINN-DIXIE STORES, INC. and BI-LO                   :   No. 15-cv-6480
  HOLDINGS, LLC.                                      :
                                                      :
                          Plaintiffs,                 :   Related Action:
                                                      :   Master File No. 06-cv-0620
  v.                                                  :
                                                      :
  EASTERN MUSHROOM MARKETING                          :
  COOPERATIVE, INC., et al.,                          :
                                                      :
                          Defendants                  :
                                                      :
                                                      x

                             PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Winn-Dixie Stores, Inc. and Bi-Lo Holdings LLC

appeal to the United States Court of Appeals for the Third Circuit from the Civil Judgment (ECF

Doc. No. 494) entered in this action on March 23, 2022 and from the Amended Civil Judgment

(ECF Doc. No. 503) entered in this action on June 13, 2022 granting judgment in favor of

Defendants Brownstone Mushroom Farms, Inc.; C&C Carriage Mushroom Co.; Country Fresh

Mushroom Co.; Gino Gaspari & Sons, Inc.; Giorgi Mushroom Company; Kaolin Mushroom Farms,

Inc.; Leone Pizzini and Son, Inc.; Louis M. Marson, Jr. Inc.; Modern Mushroom Farms, Inc.; Monterey

Mushrooms, Inc.; Phillips Mushrooms, Inc.; Oakshire Mushroom Farms, Inc.; South Mill Mushroom

Sales, Inc.; Eastern Mushroom Marketing Cooperative, Inc. (EMMC); To-Jo Fresh Mushrooms, Inc.

and United Mushroom Farm Cooperative, Inc., and against Plaintiff Winn-Dixie Stores, Inc., and

Plaintiffs appeal all interlocutory or other orders subsidiary or relating thereto.




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Dated: July 13, 2022
                                           Respectfully submitted,

                                           /s/ Patrick J. Ahern
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                                           and Bi-Lo Holdings, LLC




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                                      □
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                                CERTIFICATE OF SERVICE

       I, Patrick J. Ahern, hereby certify that on July 13, 2022, I caused a copy of the foregoing

document to be uploaded to the Court’s CM/ECF system, where it is available for downloading

and viewing.

                                                     /s/ Patrick J. Ahern

                                                     Patrick J. Ahern




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINN-DIXIE STORES, INC. and:
BI-L) HOLDINGS, LLC        :                                CIVIL ACTION
                           :
               Plaintiffs  :
               v.          :
                           :                                No. 15-cv-6480
EASTERN MUSHROOM MARKETING :
COOPERATIVE, INC., et al.  :
                           :
               Defendants. :


                      NOTICE OF CONDITIONAL CROSS APPEAL
       Notice is hereby given that Defendants, Brownstone Mushroom Farms, Inc.; C&C

Carriage Mushroom Co.; Country Fresh Mushroom Co.; Gino Gaspari & Sons, Inc.; Giorgi

Mushroom Company; Kaolin Mushroom Farms, Inc.; Modern Mushroom Farms, Inc.; Monterey

Mushrooms, Inc.; Phillips Mushrooms, Inc.; Oakshire Mushroom Farm, Inc.; South Mill

Mushroom Sales, Inc.; To-Jo Fresh Mushrooms, Inc. and Eastern Mushroom Marketing

Cooperative, Inc. (EMMC), conditionally cross appeal to the United States Court of Appeals for

the Third Circuit from the Order and Civil Judgment entered by the District Court on June 13,

2022 in favor of Defendants and against Plaintiff .

       This Cross Appeal is expressly contingent on a decision by the Court of Appeals to

vacate the Civil Judgment in favor of all Defendants entered on June 13, 2022 and thus, the

issues addressed by this Cross Appeal need only be reached if the Court of Appeals reverses the

District Court’s July 13, 2022 Judgment in favor of the Defendants.

       This Cross Appeal concerns certain Pre-Trial Orders entered by the District Court 1)

holding that the EMMC and/or its member agricultural producers as well as their affiliated


                                                1




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distributors are not immune from claims under Section 1 of the Sherman Act by virtue of the

Capper Volstead Act; 2) precluding the Defendants from offering evidence that they relied in

good faith on the advice of counsel regarding an agricultural cooperative’s ability to engage

various activities alleged to constitute an Overarching Conspiracy in violation of Section 1 of the

Sherman Act; and 3) holding that EMMC’s so called Supply Control activities were not subject

to consideration by the finder of fact under the Rule of Reason.

Dated: July 27, 2022

                                                     Respectfully Submitted,

                                                     /s/ William A. DeStefano
                                                     William A. DeStefano
                                                     Terri A. Pawelski
                                                     Matthew C. Brunelli
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                                                     Philadelphia, PA 19102




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                                 CERTIFICATE OF SERVICE

I hereby certify that on July 27, 2022 I caused a copy of the foregoing document to be uploaded

to the Court’s ECF system where it is available for review by all parties to this litigation.

Dated: July 27, 2022




                                                      /s/ William A. DeStefano




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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WINN-DIXIE STORES, INC., et al.                :       CIVIL ACTION
                                               :
                      v.                       :
                                               :
EASTERN MUSHROOM MARKETING                     :
COOPERATIVE, et al.                            :       NO. 5:15-6480


                                 CIVIL JUDGMENT

      AND NOW, this 23rd day of March, 2022, in accordance with the Court’s

interrogatories to the jury, it is ORDERED that Judgment is entered in favor of plaintiff

with regard to the following:

             1. There was a single overarching conspiracy to raise the prices of agaricus
                mushrooms by: (a) circulating minimum or target price lists along with
                rules and regulations requiring EMMC members to charge those prices;
                and (b) acquiring properties that were historically used for mushroom
                farming to reduce or limit the supply of fresh agaricus mushrooms,
                including by placing deed restrictions on the properties to prevent their
                future use as mushrooms farms.

             2. Defendant Eastern Mushroom Marketing Cooperative participated in
                the conspiracy to raise prices of agaricus mushrooms; no other listed
                defendants participated.

             3. Defendant Oakshire Mushroom Farms, Inc. and Oakshire Mushroom
                Sales, LLC, satisfied the ownership and control exception to the indirect
                purchaser rule as explained by the Court.

      It is further ORDERED that Judgment is entered in favor of defendants with

regard to the following:

             1. The single overarching conspiracy was not anticompetitive in that it did
                not cause the price of fresh agaricus mushrooms to be higher than it
                would have otherwise been.

                                               BY THE COURT:


                                               ATTEST:___________________
                                                                   Deputy Clerk




                                          □
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINN-DIXIE STORES, INC., et al.,                  :
               Plaintiffs,                        :           CIVIL ACTION
                                                  :
       v.                                         :
                                                  :
EASTERN MUSHROOM MARKETING                        :
COOPERATIVE, et al.,                              :           No. 15-6480
                Defendants.                       :

                                              ORDER

       AND NOW, this 13th day of June, 2022, upon consideration of the following motions,

and the responses and replies thereto, it is ORDERED that:

       1. Plaintiff’s Rule 50(b) Motion for a Judgment Notwithstanding the Verdict and Rule

            59(a) Motion for a New Trial (Dkt. 500) is DENIED. 1



1
         After a 14-day trial over the course of four weeks in February and March 2022—nearly six
and a half years after this action began and over 15 years after the original class action giving rise
to this case was filed—a 10-member jury unanimously found that Plaintiff failed to carry its burden
in this antitrust litigation. Specifically, the jury concluded that the EMMC initiated a conspiracy
to raise the price of agarcius mushrooms through the use of minimum or target price lists and by
acquiring properties historically used for mushroom farming to reduce or limit the supply of fresh
agaricus mushrooms. But the jury found that Plaintiff failed to show other Defendants joined the
conspiracy and that Plaintiff did not prove that the conspiracy had anticompetitive effects in the
market. Accordingly, the jury did not need to analyze whether Plaintiff satisfied the rest of its
evidentiary burdens or determine the amount of Plaintiff’s damages.
         After trial, Plaintiff filed a motion seeking relief from the jury’s findings under Federal
Rules of Civil Procedure 50(b) and 59(a). (See Dkt. 500 [Mot.].) For the reasons that follow, the
motion is denied.
         Federal Rule of Civil Procedure 50(b) allows a party to “file a renewed motion for
judgment as a matter of law” within “28 days after the entry of judgment.” “In ruling on” such a
motion, a court may allow the judgment to stand, order a new trial, or enter judgment for the
movant. Fed. R. Civ. P. 50(b)(1)-(3). Here, Plaintiff argues the jury’s findings were internally
inconsistent, the jury was confused by the Court’s instructions, and the verdict is against the weight
of the evidence. (See Mot. at 1-2.) Plaintiff requests the Court overturn the jury’s conclusions, find
in its favor on all remaining aspects of its claim, and award damages. (Id. at 2.)
         However, courts “can only address issues raised in a Rule 50(b) motion which were first
raised in a timely Rule 50(a) motion.” Mathis v. Borough of Old Forge, Civ. A. No. 08-1240, 2021
WL 639018, at *3 (M.D. Pa. Feb. 18, 2021) (citing Lightning Lube, Inc. v. Witco Corp., 4 F.3d




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1153, 1172 (3d Cir. 1993)). This requirement is rooted in the text of Rule 50(b) itself, which refers
to “a renewed motion for judgment as a matter of law.” Fed. R. Civ. P. 50(b) (emphasis added).
As the Third Circuit has explained, filing a Rule 50(a) motion is a mandatory prerequisite to a Rule
50(b) motion because “judicial reexamination of the evidence” otherwise “abridges” a party’s
“right to a trial by jury.” Lightning Lube, 4 F.3d at 1173 (quoting Fineman v. Armstrong World
Indus., Inc., 980 F.2d 171, 183 (3d Cir. 1992)).
         “Plaintiff did not make a Rule 50(a) motion for judgment as a matter of law during trial.
He thus waived any right to relief under that rule.” Holt v. Pennsylvania, Civ. A. No. 10-5510,
2018 WL 5617856, at *2 (E.D. Pa. Oct. 30, 2018); see also Bender v. Norfolk S. Corp., 31 F. Supp.
3d 659, 665 n.2 (M.D. Pa. 2014) (finding that plaintiff “made no motion concerning Defendant’s
affirmative defenses [under Rule 50(a)] and, thus, waived any [Rule] 50(b) argument relating
thereto”). Accordingly, Plaintiff’s Rule 50(b) motion is denied.
         Plaintiff also seeks relief under Federal Rule of Civil Procedure 59, which allows a court
to “grant a new trial on all or some of the issues . . . after a jury trial, for any reason for which a
new trial has heretofore been granted in an action at law in federal court.” Fed. R. Civ. P.
59(a)(1)(A). Possible grounds for new trials include, but are not limited to, improper evidentiary
rulings, improper jury instructions, newly discovered evidence, or a determination that the jury’s
verdict is against the weight of the evidence. See Ponzini v. Monroe Cnty., 789 F. App’x 313, 315
(3d Cir. 2019). “The decision to grant a new trial is within the sound discretion of the trial court,
and such requests are disfavored.” Id. (citing Williamson v. Consol. Rail Corp., 926 F.2d 1344,
1353 (3d Cir. 1991)).
         Plaintiff asserts three bases for a new trial, which are all predicated on similar underlying
arguments. First, Plaintiff argues that the jury failed to follow two of the Court’s instructions: (1)
its instruction regarding Plaintiff’s burden to show proof of competitive harm in a relevant market,
and (2) its instruction related to joining and participating in the conspiracy. With respect to the
first instruction, Plaintiff argues the jury did not follow the Court’s instruction that market share
alone could establish competitive harm given the “clear and undisputed” evidence presented at
trial on this point. (See Reply Mem. in Support of Pl.’s Rule 50(b) Mot. for a J. Notwithstanding
the Verdict and Rule 59(a) Mot. for a New Trial (Dkt. 502) [Reply] at 3.) With respect to the
second instruction, Plaintiff argues the jury did not follow the Court’s instructions regarding
joining a conspiracy because it did not find that any Defendants other than the EMMC joined the
conspiracy despite “[t]he overwhelming weight of the evidence at trial.” (Id. at 5.) Next, Plaintiff
argues that the jury’s verdict was internally inconsistent because the jury found the EMMC was a
member of the conspiracy, but that no other Defendant joined the conspiracy. (See id. at 8-10.)
Finally, Plaintiff asserts that the jury’s findings with respect to proof of competitive harm in the
market and participation in the conspiracy are against the weight of the evidence. (See id. at 10-
11.)
         Even assuming, for the purposes of this motion, that the jury erred by not finding that there
were additional members of the conspiracy beyond the EMMC, Plaintiff’s motion fails. Plaintiff
argues that it satisfied its burden of proving harm to the market as a whole by showing an increase
in price for fresh agaricus mushrooms and by showing the EMMC possessed sufficient market
power. (Mot. at 11-14.) Plaintiff characterizes this evidence as not “contradict[ed]” (id. at 13) and
“undisputed” (id. at 14). However, the testimony and evidence Plaintiff cites did not cut as clearly
in its favor as it would have the Court believe. Defendants presented a plausible version of events
and introduced evidence to undermine Plaintiff’s narrative, which the jury found credible.




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           2. Defendants Brownstone Mushroom Farms, Inc.; C&C Carriage Mushroom Co.;

               Country Fresh Mushroom Co.; Gino Gaspari & Sons, Inc.; Giorgi Mushroom

               Company; Kaolin Mushroom Farms, Inc.; Leone Pizzini & Son, Inc.; Louis M.

               Marson, Jr. Inc.; Modern Mushroom Farms, Inc.; Monterey Mushrooms, Inc.;

               Phillips Mushrooms, Inc; Oakshire Mushroom Farms, Inc.; South Mill Mushroom

               Sales, Inc.; Eastern Mushroom Marketing Cooperative, Inc. (EMMC); To-Jo Fresh

               Mushrooms, Inc. and United Mushroom Farm Cooperative, Inc.’s Motion to Alter

               or Amend Judgment (Dkt. 498) is GRANTED. 2

           3. The Judgment in this case entered by the Court on March 23, 2022 (Dkt. 494) is

               hereby altered and amended pursuant to the Civil Judgment attached hereto.


                                                      BY THE COURT:


                                                      __________________
                                                      Berle M. Schiller, J.


Defendants’ expert also offered several criticisms of Plaintiff’s expert’s work and conclusions. As
in any litigation that ultimately reaches trial, there were two sides of a story presented to an
impartial jury. It is entirely possible that the jury simply rejected Plaintiff’s arguments or its
expert’s testimony in reaching its reasonable conclusion that the conspiracy did not impact the
market. Stated differently, faced with the parties’ competing narratives and dueling experts’
mathematical analyses and conclusions, the jury may well have believed Defendants’ explanations
and evidence rather than Plaintiff’s. See Brown v. City of Phila., Civ. A. No. 18-1126, 2020 WL
1888953, at *3-4 (E.D. Pa. Apr. 16, 2020); see also Ramsey v. Buchanan Auto Park, Inc., Civ. A.
No. 16-1879, 2022 WL 673737, at *4-5 (M.D. Pa. Mar. 7, 2022). Plaintiff’s arguments do not rise
beyond merely wishing that the jury believed its side rather than Defendants’.
        Accordingly, the Court does not find that the jury failed to follow its instructions. Nor does
the Court find that the jury’s factual determinations are against the clear weight of the evidence
such that a new trial must be ordered. See Williamson, 926 F.2d at 1353 (“[N]ew trials because the
verdict is against the weight of the evidence are proper only when the record shows that the jury’s
verdict resulted in a miscarriage of justice or where the verdict, on the record, cries out to be
overturned or shocks our conscience.”). The motion is therefore denied.
2
      Plaintiff did not file an opposition to Defendants’ motion. The Court therefore grants
Defendants’ motion as unopposed pursuant to Local Rule of Civil Procedure 7.1(c).




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINN-DIXIE STORES, INC., et al.,               :
               Plaintiffs,                     :           CIVIL ACTION
                                               :
       v.                                      :
                                               :
EASTERN MUSHROOM MARKETING                     :
COOPERATIVE, et al.,                           :           No. 15-6480
                Defendants.                    :

                                     CIVIL JUDGMENT

       AND NOW, this 13th day of June, 2022, in accordance with the Court’s interrogatories

to the jury and the jury’s unanimous answers to the Verdict Form (Dkt. 493):

       IT IS ORDERED that the Court’s prior Judgment (Dkt. 494) be modified as follows:

       IT IS ORDERED that Judgment be and hereby is entered in favor of Defendants

Brownstone Mushroom Farms, Inc.; C&C Carriage Mushroom Co.; Country Fresh Mushroom

Co.; Gino Gaspari & Sons, Inc.; Giorgi Mushroom Company; Kaolin Mushroom Farms, Inc.;

Leone Pizzini and Son, Inc.; Louis M. Marson, Jr. Inc.; Modern Mushroom Farms, Inc.; Monterey

Mushrooms, Inc.; Phillips Mushrooms, Inc.; Oakshire Mushroom Farms, Inc.; South Mill

Mushroom Sales, Inc.; Eastern Mushroom Marketing Cooperative, Inc. (EMMC); To-Jo Fresh

Mushrooms, Inc. and United Mushroom Farm Cooperative, Inc. and against Plaintiff, Winn-Dixie

Stores, Inc.



                                                   BY THE COURT:



                                                   ATTEST:        _______________________
                                                                        Deputy Clerk




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINN-DIXIE STORES, INC., et al.,                    :
               Plaintiffs,                          :         CIVIL ACTION
                                                    :
       v.                                           :
                                                    :
EASTERN MUSHROOM MARKETING                          :
COOPERATIVE, et al.,                                :         No. 15-6480
                Defendants.                         :

                                              ORDER

       AND NOW, this 10th day of February, 2022, upon consideration of the following

motions and responses thereto, it is hereby ORDERED that:

    1. Defendant United Mushroom Farms Cooperative, Inc.’s (“United”) Motion in Limine to

       Exclude Alleged Co-Conspirator Statements (Dkt. 375) is DENIED. 1



1
        Out-of-court statements offered for the truth of the matter asserted are generally
inadmissible hearsay. See Fed. R. Evid. 801(c). However, they may be admissible as co-
conspirator statements if the moving party proves “by a preponderance of evidence that: (1) a
conspiracy existed; (2) the declarant and the party against whom the statement is offered were
members of the conspiracy; (3) the statement was made in the course of the conspiracy; and (4)
the statement was made in furtherance of the conspiracy.” United States v. Weaver, 507 F.3d 178,
181 (3d Cir. 2007). At this stage of the proceedings, the Court’s decision is limited to admissibility
only and has no bearing on Winn-Dixie’s ultimate burden to prove liability. See In re Processed
Egg Prods. Antitrust Litig., MDL No. 08-2002, 2019 WL 5656101, at *2 n.2 (E.D. Pa. Oct. 31,
2019) [hereinafter In re Eggs] (citing In re Domestic Drywall Antitrust Litig., 163 F. Supp. 3d 175,
229 (E.D. Pa. 2016)). Both Third Circuit precedent and the Federal Rules of Evidence favor
admissibility. See In re Flat Glass Antitrust Litig., 385 F.3d 350, 376 (3d Cir. 2004); In re Domestic
Drywall Antitrust Litig., 163 F. Supp. 3d at 229.
        Winn-Dixie’s Sherman Act claims depend on the existence of a “contract, combination . . .
or conspiracy” that restrains trade. 15 U.S.C. § 1. Accordingly, to admit co-conspirator statements
against United, Winn-Dixie must show by a preponderance of the evidence that United joined
together with at least one other entity to restrain trade. See Weaver, 507 F.3d at 181; In re Eggs,
2019 WL 5656101, at *5 (citing Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764
(1984)). But “the quantity of evidence used to prove a conspiracy” for purposes of admitting co-
conspirator statements “need not be great.” In re Eggs, 2019 WL 5656101, at *2.

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   2. United’s Motion in Limine to Limit Evidence and Argument Regarding United’s Potential

       Liability in an Alleged Antitrust Conspiracy (Dkt. 376) is GRANTED in part and

       DENIED in part. Plaintiff Winn-Dixie Stores (“Winn-Dixie”) and United will be


         For the limited purposes of this motion, see In re Domestic Drywall Antitrust Litig., 163 F.
Supp. 3d at 229, the Court concludes that Winn-Dixie has carried its burden. United argues that
even though it joined the EMMC in April 2003 and attended the group’s meetings, mere
membership and attendance at meetings is not enough to establish that it joined the conspiracy.
(See Dkt. 375 at 8.) Further, it asserts that it was not a member of the conspiracy because its
mushroom sales were made exclusively to other EMMC members and were therefore not subject
to the EMMC’s minimum pricing policy. (See id. at 4.) However, a conspiracy may be established
if “the parties knowingly worked together to accomplish a common purpose,” regardless of
whether they all “acted exactly alike” or “possessed the same motive for entering the agreement.”
Toledo Mack Sales & Serv., Inc. v. Mack Trucks, 386 F. App’x 214, 221 (3d Cir. 2010); see also
In re Eggs, 2019 WL 5656101, at *15 (noting that co-conspirators “need not participate in every
action taken in furtherance of the conspiracy”).
         Winn-Dixie’s evidence shows that EMMC members committed themselves to selling
mushrooms at fixed prices and that the EMMC instituted and amended pricing policies. (See, e.g.,
Dkt. 402 Ex. 19 (EMMC Membership Agreement) ¶¶ 3, 5; Exs. 4-12, 21-29 (pricing policies)).
Even if United only sold its products to other EMMC members, doing so increased the EMMC’s
overall mushroom supply, which United knew the EMMC could sell at its minimum prices. (See
id. Ex. 36 (EMMC Membership Committee Report noting that increasing membership “increases
the critical mass of the organization by increasing the pounds of mushrooms marketed under the
EMMC’s control”).) United thereby furthered the conspiracy’s ends. See In re Magnesium Oxide
Antitrust Litig., Civ. A. No. 10-5943, 2011 WL 5008090, at *17-18 (D.N.J. Oct. 20, 2011) (party
that facilitated co-conspirators’ conduct, was aware of price-fixing and market allocation
agreements, and attended meetings to ensure enforcement of same joined conspiracy given its
“informed and interested cooperation” in the scheme); see also In re Eggs, 2019 WL 5656101, at
*15 (attendance at meetings was “evidence of [party’s] awareness of” conspiracy’s anticompetitive
practices and involvement in conspiracy, even if it did not participate in every aspect of the
conspiracy). Accordingly, for purposes of this motion, the Court finds that Winn-Dixie has shown
by a preponderance of the evidence that United joined a conspiracy. See Deborah Heart & Lung
Ctr. v. Penn Presbyterian Med. Ctr., Civ A. No. 11-1290, 2011 WL 6935276, at *6 (D.N.J. Dec.
30, 2011) (rejecting argument that party lacked “a unity of purpose with the other” conspiracy
members because they had different goals since parties need not have “identical motives” or even
anti-competitive motives to join a conspiracy); Acme Mkts., Inc. v. Wharton Hardware & Supply
Corp., 890 F. Supp. 1230, 1239 (D.N.J. 1995) (concluding that parties with “independent motives”
could “act[] in concert to restrain competition” in violation of § 1 of the Sherman Act).
         For the sake of clarity, the Court notes that this ruling shall in no way limit United’s
opportunity to raise objections to specific statements Winn-Dixie attempts to offer against it on
other grounds.

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       permitted to introduce evidence and arguments to establish whether and when United

       joined the alleged conspiracy as well as whether and when United withdrew from the

       alleged conspiracy. If Winn-Dixie establishes that United joined the alleged conspiracy and

       United establishes that it successfully withdrew from the conspiracy, United’s liability

       shall be limited to damages caused by the conspiracy’s conduct before its withdrawal date.

       It will be Winn-Dixie’s burden to prove to the finder of fact what damages flow from acts

       of the alleged conspiracy taken prior to United’s withdrawal.

    3. Defendant Eastern Mushroom Marketing Cooperative’s (“EMMC”) Motion in Limine No.

       1 to Preclude Testimony and Other Evidence Regarding the EMMC’s Supply Control

       Program at Trial as Irrelevant to Winn Dixie’s Price Fixing Claims (Dkt. 377) is DENIED.

       Whether and why the EMMC implemented the Supply Control Plan is relevant to

       determining whether the EMMC engaged in other conduct with similar intent and is

       therefore relevant under the rule of reason analysis. However, defendants will be permitted

       to continue to argue that Winn-Dixie is unable to establish damages because its expert did

       not sufficiently account for the Supply Control Plan in his regression analysis.

    4. EMMC’s Motion in Limine No. 2 Seeking Application of the Rule of Reason to

       Defendants’ “Supply Control” Program (Dkt. 378) is DENIED. 2


2
         Judge O’Neill previously found that the Supply Control Program did not require
cooperation from “vertically aligned distribution entities,” unlike the implementation of the
EMMC’s minimum pricing policies. In re Mushroom Direct Purchaser Antitrust Litig., Civ. A.
No. 06-620, 2015 WL 6322383, at *16 (E.D. Pa. May 26, 2015). Consequently, he held the Supply
Control Program was subject to per se liability because an agreement to restrict production is
analyzed under the same framework as a price-fixing agreement since they are both designed to
raise, stabilize, or otherwise fix prices. See id.
         The EMMC argues that In re Processed Egg Products Antitrust Litigation, 962 F.3d 719
(3d Cir. 2020), warrants application of the rule of reason to the Supply Control Program rather

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than the per se standard. Eggs involved an alleged conspiracy to restrict the supply of eggs through,
among other means, a “Certification Program,” which consisted of a set of animal welfare
measures (including reducing the number of chickens in a cage and restrictions on replacing hens
once they died). Id. at 723. The district court applied the rule of reason because the Certification
Program was not an express agreement to restrain supply and plaintiffs failed to provide evidence
that it was an effort to increase prices by limiting supply. Id. at 724. Additionally, the Certification
Program had plausible pro-competitive benefits, including increasing hens’ health, reducing
disease, and promoting overall increased egg production. Id. The district court also noted that the
supply of eggs in fact increased during the class period and the Certification Program did not “limit
the number of hens a producer could own or the number of eggs a producer could produce.” Id.
         Plaintiffs appealed and argued the district court should have applied the per se rule. Id. at
726. The Third Circuit disagreed because the Certification Program “was not an express agreement
to reduce the supply of eggs, much less to fix prices.” Id. at 728. Nor was it clear that the
Certification Program “would ‘have manifestly anticompetitive effects and lack any redeeming
virtue.’” Id. (quoting Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 886
(2007)). Consistent with the district court’s findings, the Third Circuit noted that the Certification
Program could lead to an increase in output because various aspects of the Certification Program
might have facilitated increased egg production. For example, even though the Certification
Program required placing fewer hens in a given cage, hens with more cage space may actually
produce more eggs and the Certification Program did not restrict how many cages a producer could
operate. Id. at 728. Accordingly, the Third Circuit found that “the economic impact of the actions
at issue cannot be predicted with a high degree of certainty,” and it determined that the district
court properly applied the rule of reason. Id. at 728-29.
         Here, the EMMC adopted a significantly more straightforward plan that involved buying
farms to reduce supply. The Certification Plan in Eggs affected the way eggs were produced and
may have thereby promoted increased egg production. But the EMMC’s plan did not affect how
mushrooms were grown and instead reduced the number of farms that could potentially grow
mushrooms. Unlike the Eggs plaintiffs, Winn-Dixie provided evidence suggesting that the Supply
Control Plan was intended to reduce supply. (See Dkt. 379 at 6-7, 9.) Although the EMMC is
correct that, like the Certification Program in Eggs, the Supply Control Program did not contain
an explicit output restriction, the Supreme Court has previously held that removal of supply from
potential competitors’ control as a means of stabilizing the market is subject to the per se rule. See
United States v. Socony Vacuum Oil Co., 310 U.S. 150, 216 (1940); see also id. at 224.
         Contrary to the Certification Program in Eggs, there does not appear to be a valid business
purpose for the Supply Control Program other than limiting competition. See Eisai, Inc. v. Sanofi
Aventis U.S., LLC, 821 F.3d 394, 402 (3d Cir. 2016) (noting the per se rule applies to a business
practice that “on its face, has no purpose except stifling competition”) (internal quotations
omitted). Finally, even if the EMMC were correct that the effect of the Supply Control Program
may have reduced prices and increased supply, (see Dkt. 378 at 12), the Supreme Court has noted
that “[f]or the sake of business certainty and litigation efficiency,” antitrust doctrine has “tolerated
the invalidation of some agreements that a fullblown inquiry might have proved to be reasonable.”
Arizona v. Maricopa Cty. Med. Soc’y, 457 U.S. 332, 344 (1982).

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5. EMMC’s Motion in Limine No. 3 for Clarification of Rulings with Respect to References

   to the Capper-Volstead Act at Trial (Dkt. 379) is DENIED. The Court has determined that

   defendants are not entitled to immunity under the Capper-Volstead Act. See Winn-Dixie

   Stores, Inc. v. E. Mushroom Mktg. Coop., Civ. A. No. 15-6480, 2022 WL 226174, at *6

   (E.D. Pa. Jan. 26, 2022). Accordingly, the parties shall redact any references to the Capper-

   Volstead Act from their proposed exhibits or designated testimony and shall confer

   regarding their proposed redactions. Should any disputes regarding specific references to

   the Capper-Volstead Act remain outstanding, the parties must inform the Court of their

   disputes by joint letter to be submitted by no later than Tuesday, February 22, 2022.

6. EMMC’s Motion in Limine Regarding the Court’s Order of February 14, 2020 in the

   Publix and Giant Eagle Cases, Precluding Evidence of Certain Pro-Competitive Attributes

   of the EMMC’s Minimum Pricing Policy (Dkt. 380) is DENIED. As the Court noted in

   that Order, “the Sherman Act does not permit defendants to justify anticompetitive

   behavior by arguing that the behavior forestalls certain negative consequences where those

   consequences are the result of competition.” Accordingly, the EMMC will not be permitted

   to argue that increased producer prices, increased producer profits, decreased producer

   losses, or helping firms stay in operation are valid pro-competitive benefits under the rule

   of reason.

7. Winn-Dixie’s Motion in Limine to Preclude Defendants’ Purported Procompetitive

   Benefits (Dkt. 381) is GRANTED for substantially the same reasons as set forth in the

   Court’s decision regarding Dkt. 380.

8. Winn-Dixie’s Motion in Limine for the Application of the Quick Look Rule of Reason


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       Analysis to the EMMC Minimum Prices and Pricing Policy (Dkt. 382) is DENIED. 3

    9. Winn-Dixie’s Motion in Limine to Preclude Evidence and Arguments of Limited

       Participation (Dkt. 383) is DENIED. Although co-conspirators are jointly and severally

       liable for damages, the evidence Winn-Dixie seeks to exclude is relevant for assessing



3
        Judge O’Neill previously held that the rule of reason applied to the EMMC’s minimum
pricing policies because the alleged scheme included horizontal as well as vertical elements and
because certain EMMC members were fully integrated and other members maintained
relationships with upstream distributors. See In re Mushroom Direct Purchaser Antitrust Litig.,
2015 WL 6322383, at *12-15. Such arrangements are properly considered under the rule of reason.
        The parties now dispute whether the traditional rule of reason framework should apply or
whether the “quick look” mode of analysis is more appropriate. “Quick look” is an
“abbreviated . . . analysis under the rule of reason” that can be applied when “an observer with
even a rudimentary understanding of economics could conclude that the arrangements in question
would have an anticompetitive effect on customers and markets.” Cal. Dental Ass’n v. FTC, 526
U.S. 756, 770 (1999).
        Winn-Dixie relies heavily on the Sixth Circuit’s decision in In re Southeastern Milk to
support its argument that the quick look standard applies because the conduct here included
vertical and horizontal elements. (See Dkt. 382 at 3-6.) Winn-Dixie states that because of this
aspect of the agreement, the Sixth Circuit “applied the Quick Look analysis” and provided a
“strong indication that it should apply” on remand. (Id. at 3.) Winn-Dixie is correct that the Sixth
Circuit merely suggested that the arrangement may warrant application of the quick look standard
and in fact specifically noted that “the district court may yet determine that a full rule of reason
analysis is still required.” In re Se. Milk Antitrust Litig., 739 F.3d 262, 275-76 (6th Cir. 2014). And
in fact, on remand, after considering the nature of the restraint, the relevant market, and the
complexity of the agreement, the district court found that “quick-look analysis is inappropriate in
this case.” Food Lion, LLC v. Dean Foods Co., Civ. A. No. 07-188, 2016 WL 1259959, at *4 (E.D.
Tenn. Mar. 30, 2016).
        The Court finds that quick look analysis is not appropriate here because the effects of the
minimum pricing policy are not “obviously or facially anticompetitive.” Id. at *3. The EMMC has
provided evidence that the supply of mushrooms may have increased and the price of mushrooms
may have decreased as a result of the minimum pricing policy. (See Dkt. 393 at 3 (citing David
Report at Figs. 1-2)); see also In re Processed Egg Prods. Antitrust Litig., 206 F. Supp. 3d 1033,
1047 (E.D. Pa. 2016) (quoting Cal. ex rel. Harris v. Safeway, Inc., 651 F.3d 1118, 1138 (9th Cir.
2011)) (noting that the quick look approach is not appropriate where “empirical analysis is required
to determine [the] challenged restraint’s net competitive effect”). Further, the conspiracy involves
a complex relationship among numerous parties with varying market roles. See Food Lion, 2016
WL 1259959, at *4. Accordingly, the Court finds that the traditional rule of reason analysis should
apply.

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   whether any defendant joined the conspiracy at all. While evidence of a defendant’s level

   of involvement is relevant for this purpose, the Court may revisit the admissibility of such

   evidence or offer a limiting instruction to the extent any defendant seeks to introduce

   evidence or argue that they are liable for a smaller portion of damages because of their

   claimed limited participation.

10. Winn-Dixie’s Motion in Limine to Preclude Evidence and Arguments of General Financial

   Condition (Dkt. 384) is GRANTED in part and DENIED in part. The Court agrees with

   the parties that evidence of the parties’ sizes, profitability, and financial conditions is not

   admissible for the purpose of showing whether Winn-Dixie should or should not receive a

   judgment in its favor. (See Dkt. 384 at 4; Dkt. 389 at 1.) Such evidence is irrelevant and

   could be highly prejudicial. See Fed. R. Evid. 401-03. Accordingly, the Motion is granted

   with respect to that purpose. Subject to objections at trial, the Court will allow the parties

   to introduce arguments and evidence related to the parties’ size, profitability, and financial

   conditions for other proper purposes.

11. Winn-Dixie’s Motion in Limine to Preclude Defendants from Asserting a “Good Faith” or

   “Reliance on Counsel” Defense (Dkt. 385) is GRANTED. Winn-Dixie’s claims do not

   require proof of specific intent. See In re Mushroom Direct Purchaser Antitrust Litig., 54

   F. Supp. 3d 382, 391-93 (E.D. Pa. 2014). Even if defendants’ intention in seeking counsel’s

   advice regarding the formation of the EMMC or the advice itself is somehow relevant to

   defending against Winn-Dixie’s claims under the rule of reason, the probative value of any

   such evidence is substantially outweighed by a danger of unfair prejudice or misleading

   the jury. See Fed. R. Evid. 403. Evidence of attorney involvement in the formation of the


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   EMMC or defendants’ intention in seeking counsel’s advice could permit the jury to

   conclude that counsel’s guidance, whether right or wrong, ensured that defendants’ actions

   did not violate the antitrust laws and would be unfairly prejudicial and potentially

   misleading to the jury. Accordingly, the parties shall redact any references to defendants’

   reliance on counsel from their proposed exhibits or designated testimony and shall confer

   regarding their proposed redactions. Should any disputes regarding specific references to

   counsel remain outstanding, the parties must inform the Court of their disputes by joint

   letter to be submitted no later than Tuesday, February 22, 2022. If the parties intend to

   seek the admission of any documents or testimony that refer to counsel, they must propose

   language that the Court may use to explain any such references to the jury.

12. Winn-Dixie’s Motion in Limine to Preclude References at Trial to the Capper-Volstead

   Act (Dkt. 386) is GRANTED for substantially the same reasons as set forth in the Court’s

   decision regarding Dkt. 379.



                                        BY THE COURT:




                                        Berle M. Schiller, J.




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                                        DA19
